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                         Exhibit A
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Silverman, Brittany

From:                             Brown, Kathryn M.
Sent:                             Thursday, March 28, 2024 4:25 PM
To:                               annaarchivist@proton.me; AnnaDMCA@proton.me; annaarchivist+security@proton.me;
                                  domainabuse@tucows.com
Cc:                               Walker, Jeffrey
Subject:                          RE: OCLC, Inc. v. Anna’s Archive, f/k/a Pirate Library Mirror, et al., Case No. 2:24-cv-144-
                                  MHW-EPD (Southern District of Ohio) [I-AMS.FID4902988]
Attachments:                      Case Initiating Documents.zip; 2024-03-22 Opinion and Order.pdf; 2024-03-27 Request
                                  for Issuance.pdf; 2024-03-27 Summons Issued to Anna's Archive.pdf; 2024-01-12
                                  Complaint.pdf; 2024-01-12 Exhibit A.pdf; 2024-01-12 Exhibit B.pdf


Anna’s Archive and its team members:

Please ﬁnd aftached a courtesy copy of the court order and opinion granfing Plainfiﬀ OCLC, Inc.’s Mofion to Serve
Defendant Anna’s Archive by Email, a courtesy copy of the corresponding request for issuance of summons, and the
summons issued yesterday for Anna’s Archive at these email addresses, along with case inifiafing documents. The case
inifiafing documents were previously emailed to these addresses.

Thank you,

Kathryn (Katie) M. Brown
She/her/hers
Associate
Squire Patton Boggs (US) LLP
2000 Huntington Center
41 South High Street
Columbus, Ohio 43215
T +1 614 365 2808
M +1 330 268 1872


From: Brown, Kathryn M.
Sent: Wednesday, January 24, 2024 3:36 PM
To: annaarchivist@proton.me; AnnaDMCA@proton.me; annaarchivist+security@proton.me;
domainabuse@tucows.com
Cc: Walker, Jeffrey <jeffrey.walker@squirepb.com>
Subject: RE: OCLC, Inc. v. Anna’s Archive, f/k/a Pirate Library Mirror, et al., Case No. 2:24-cv-144-MHW-EPD (Southern
District of Ohio) [I-AMS.FID4902988]

Anna’s Archive and its team members:

Please aftached a courtesy copy of Plainfiﬀ OCLC, Inc.’s Mofion to Serve Defendant Anna’s Archive by Email, which was
ﬁled today in the above-referenced mafter.

Thank you,

Kathryn (Katie) M. Brown
She/her/hers
Associate
Squire Patton Boggs (US) LLP
2000 Huntington Center
41 South High Street
Columbus, Ohio 43215

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T +1 614 365 2808


From: Walker, Jeffrey <jeffrey.walker@squirepb.com>
Sent: Tuesday, January 16, 2024 5:15 PM
To: annaarchivist@proton.me; AnnaDMCA@proton.me; annaarchivist+security@proton.me;
domainabuse@tucows.com
Cc: Brown, Kathryn M. <kathryn.brown@squirepb.com>
Subject: OCLC, Inc. v. Anna’s Archive, f/k/a Pirate Library Mirror, et al., Case No. 2:24-cv-144-MHW-EPD (Southern
District of Ohio)

Anna’s Archive and its team members:

Please ﬁnd the aftached correspondence and court ﬁlings in the above-referenced case ﬁled against you this past Friday,
January 12, 2024.

Thanks,
Jeﬀ

                     Jeffrey Walker
                     Principal
                     Squire Patton Boggs (US) LLP
                     2000 Huntington Center
                     41 South High Street
                     Columbus, Ohio 43215
                     T +1 614 365 2794
                     O +1 614 365 2700
                     F +1 614 365 2499
                     M +1 650 390 4615
                     jeffrey.walker@squirepb.com | squirepattonboggs.com
                     Find Us: Twitter | LinkedIn | Facebook | Instagram




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


 OCLC, INC.,

               Plaintiff,
                                                     Case No. 2:24-cv-144

        vs.
                                                     Judge Michael H. Watson
                                                     Magistrate Judge Elizabeth P. Deavers

 ANNA’S ARCHIVE, et al.,

               Defendants.

                                    OPINION AND ORDER

        This matter is before the Court for consideration of Plaintiff OCLC, Inc.’s (“OCLC”)

 Motion to Serve Defendant Anna’s Archive by Email. (ECF No. 9.) For the following reasons,

 Plaintiff’s Motion is GRANTED.

        OCLC, a non-profit library service and research organization, filed this action seeking

 declaratory and injunctive relief and damages on January 12, 2024, naming as Defendants

 Anna’s Archive f/k/a Pirate Library Mirror (“Anna’s Archive”), Maria Dolores Anasztasia

 Matienzo (“Matienzo”), and John Does 1-20. (ECF No. 1.) On January 16, 2024, summons was

 issued as to Matienzo at an address in Seattle, Washington. (ECF No. 8.) On January 26, 2024,

 a waiver of service was returned executed by counsel located in Columbus, Ohio, indicating a

 service date of January 16, 2024. (ECF No. 10.) Following a stipulated extension of time,

 Matienzo has until April 8, 2024, to file an Answer or otherwise respond to the Complaint. (ECF

 No. 13.)
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        In its Complaint, OCLC alleges that Defendants illegally hacked and harvested the data

 of its proprietary website, WorldCat.org. OCLC describes its WorldCat® database as the

 “premiere bibliographic record and cataloging product for libraries” and WorldCat.org as “the

 world’s largest library catalog website, and its search engine queries the WorldCat® database for

 bibliographic records, connecting individuals to the library holdings at their local libraries.”

 (ECF No. 1, ECF No. 9 at 3.) OCLC further alleges that “the individual Defendants own,

 operate, and/or control Defendant Anna’s Archive, the world’s largest shadow or pirate library.”

 (Id.) According to OCLC, as an online pirate library search engine, Anna’s Archive “distributes

 and makes available for free download through file torrents materials in violation of copyright

 laws.” (Id.; ECF No. 9 at 6.) OCLC explains that, in the fall of 2022, it began to experience

 persistent cyberattacks and learned in October 2023 that Defendants were behind these attacks.

 Following these attacks, OCLC asserts that Defendants have “torrented” 2.2TB of WorldCat®

 data, representing 97.4 of all WorldCat® records.

        OCLC further contends that Defendants do not dispute either their actions or the illegality

 of those actions. To this point, OCLC cites a blog post published by Anna’s Archive boasting

 that it “meticulously scraped all WorldCat records” and detailing its efforts. For this reason,

 OCLC explains, Defendants go to great lengths to remain anonymous, with none of Anna’s

 Archives domains or its online blog providing a business address, business contact, or other

 contact information. OCLC maintains that, despite its diligent efforts, it has been unable to

 uncover such information.

        To demonstrate its diligence, OCLC has submitted a declaration from Catarina Kim, the

 Managing Director & Global Practice Leader for the Intelligence Group within Stroz Friedberg,

 an Aon company ("Aon"). (Declaration of Catarina Kim, ECF No. 9-1, “Kim Decl.”) In



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 connection with this litigation, Plaintiff’s counsel engaged Aon, a consulting firm providing

 services across cyber security, digital forensics and incident response, investigations and risk

 management. (Id. at ⁋⁋ 1, 2.) Ms. Kim details the results of her research as follows.

        Anna’s Archive currently utilizes at least twenty-three unique or rerouting domains or

 website addresses. (Kim Decl., ECF No. 9-1 at ⁋ 4.) Anna’s Archive publicizes three main

 domains, annas-archive.org, annasarchive..se, and annas-archive.gs, two of which use foreign

 country countries—Sweden ("se") and South Georgia and the South Sandwich Islands (".gs.").

 (Id. at ⁋ 5.) While Anna’s Archive uses some domestic top-level hosting providers, such as

 Cloudflare, this does not indicate that Anna’s Archive is located in the United States. (Id. at ⁋ 6.)

 Based on a blog post published on March 19, 2023, Ms. Kim understands Anna’s Archive

 selected Cloudflare as a top-level host for the primary purpose of obscuring any physical location

 or other identifying information. Anna’s Archive uses mostly foreign hosts, registrars and

 registrants. (Id. at ⁋ 7.) These hosts, registrars, and registrants are located in Bulgaria, Canada,

 Finland, France, Germany, Iran, Japan, the Netherlands, St. Kitts and Nevis, Turkey, and

 Ukraine. (Id. ¶ 7, Exhibit B.) Anna’s Archive engaged registrant proxies to avoid disclosing

 their identifiers when registering their various domains. (Id.) Entities serving as a registrant, in

 turn, use proxy services to protect, redact, or obfuscate registrant information and contact details

 in domain records. (Id.) The registrant entities also use proxy servers to conceal the end user’s

 IP address, webpage servers, and/or identity from the internet. (Id.)

        Ms. Kim further states that, based on her research and investigation, the majority of

 individuals and entities associated with Anna’s Archive are likely foreign, located outside the

 United States. (Kim Decl., ECF No. 9-1 at ⁋ 8.) She explains that Anna’s Archive and the

 individual defendants that own, operate, and/or control Anna’s Archive rely heavily on foreign



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 intermediaries to operate the sites associated with Anna’s Archive. (Id.) Thus, the individual

 defendants have also sought to conceal their identities when registering the Anna’s Archive

 domain names; including by using proxy services, proxy servers, and a reverse-proxy servers to

 anoriymize and conceal their personally identifying information. (Id.)

        According to Ms. Kim, Aon attempted to locate a physical address for Anna’s Archive

 and the individuals behind it by reviewing Anna’s Archive’s known websites, domain records,

 and Domain Name System (`"DNS") data points. (Kim Decl., ECF No. 9-1 at ⁋ 9.) However,

 Anna’s Archive’s domain records use privacy protection features to redact details about its

 registrants and their physical location. (Id.) Thus, none of the domains provide registrant

 information such as formal business name, contact name, business address, or telephone number

 nor do these sites provide a "contact us" page that provides contact information that can be

 attributed to a real person. (Id.) Further, Aon relied on commercial databases containing domain

 records, United States public aggregators, a Brazilian public records database, and databases that

 index the deep and dark web. (Id. at ⁋ 10.) Aon, however, was unable to locate a physical

 address associated with Anna’s Archive. (Id.)

        Citing the above testimony, OCLC contends that Anna’s Archive “likely” is a foreign

 entity. (ECF No. 9 at 4.) Further, OCLC alleges that Anna’s Archive purports to be a non-profit

 (Complaint, ECF No. 1 at ¶ 18) and is thus a “foreign corporation, or a partnership or other

 unincorporated association that is subject to suit under a common name,” as contemplated by

 Fed.R.Civ.P. 4(h). Rule 4(h)(2) provides that a “foreign corporation, or a partnership or other

 unincorporated association that is subject to suit under a common name, must be served,” if

 outside the United States, “in any manner prescribed by Rule 4(f) for serving an individual,

 except for personal delivery under (f)(2)(C)(i).” Fed. R. Civ. P. 4(h)(2). OCLC, relying solely



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 on Rule 4(f)(3) here, contends that email service is the only “likely” and reliable way to

 effectuate service. (ECF No. 9 at 4.)

           Initially, the Court notes that Rule 4(f) provides three avenues for service on individuals

 in a foreign country, generally: (1) “by any internationally agreed means of service that is

 reasonably calculated to give notice,” (2) “as prescribed by the foreign country’s law for

 service,” “as the foreign authority directs in response to a letter rogatory or letter of request,” or

 by personal or mail service, and (3) “by other means not prohibited by international agreement,

 as the court orders.” Fed.R.Civ.P. 4(f)(1)–(3). OCLC, in identifying Rule 4(f)(3) as the only

 avenue available for service on Anna’s Archive, asserts that it is not required to exhaust the other

 methods contemplated by Rule 4(f) prior to seeking to use alternative means under that

 subsection. The Court agrees that such exhaustion is not required. See Lexmark Int’l, Inc. v. Ink

 Techs. Printer Supplies, LLC, 295 F.R.D. 259, 261 (S.D. Ohio 2013) (“Notably, courts have

 consistently found that there is not a hierarchy among the subsections of Rule 4(f) … As such, a

 plaintiff is not required to first exhaust the methods contemplated by Rule 4(f)(1) and (2) before

 petitioning the Court for permission to use alternative means under Rule 4(f)(3).”) (collecting

 cases).

           Under the plain language of Rule 4(f)(3), “there are only two requirements for service:

 (1) it must be directed by the court, and (2) it must not be prohibited by international agreement.”

 Lexmark Int’l, 295 F.R.D. at 174. Here, OCLC seeks the Court’s permission to serve by email.

 If the Court grants OCLC’s request, the first element is met. AmaTech Grp. Ltd. v. Fed. Card

 Servs., LLC, No. 1:21-CV-00406, 2021 WL 3674821, at *3 (S.D. Ohio Aug. 19, 2021). Thus,

 the Court’s focus here is on the second element – whether the service requested here is

 prohibited by international agreement.



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        “As this Court has recognized, courts have repeatedly found that email service is not

 prohibited by the Hague Convention.” Eversole v. Durrani, No. 1:18-cv-856, 2019 WL

 5846974, at *2 (S.D. Ohio Apr. 16, 2019) (citing Medical Protective Co. v. Center for Advanced

 Spine Tech., Inc., No. 1:14-cv-005, 2014 WL 12653861, at *2 (S.D. Ohio Jan. 13, 2014)). Of

 course, in so stating, “the Court assumes that the Hague Convention applies.” AmaTech Grp.,

 2021 WL 3674821, at *3. As noted above, however, OCLC asserts only that “it is highly likely

 that Anna’s Archive is a non-domestic foreign entity.” (ECF No. 9 at 9.) Thus, Plaintiff has not

 identified a specific foreign country in which Anna’s Archive may be residing.

        This circumstance “might seem to jeopardize the Court’s ability to determine whether an

 international agreement ‘prohibits’ a particular form of service for Rule 4(f)(3) purposes.”

 AmaTech Grp., 2021 WL 3674821, at *3. Case law, however, “suggests that the serving party

 need only ‘make reasonably diligent efforts to learn the defendant’s mailing address’ for Rule

 4(f) purposes.” Id. (quoting Luxottica Grp. S.p.A. v. P’ships and Unincorporated Assocs.

 Identified on Schedule A, 391 F. Supp. 3d 816, 822 (N.D. Ill. 2019)). Here, OCLC undertook

 such efforts as detailed above and supported by Ms. Kim’s declaration. Thus “any mystery

 about [Anna’s Archive’s] current country of residence does not derail Plaintiff’s request for

 substitute service under Rule 4(f)(3).” Kuhlman v. McDonnell, No. 1:20-CV-00510, 2021 WL

 306468, at *2 (S.D. Ohio Jan. 29, 2021). However, “Rule 4(f)(3) only permits service by

 “‘means not prohibited by international agreement,’ so there is a possibility [Anna’s Archive]

 might be residing in a country that prohibits international email service.” Id. (citing Luxottica,

 391 F.Supp.3d at 827).

        Nevertheless, the lack of “surefire evidence” of a defendant’s country of residence does

 not necessarily prohibit email service for purposes of Rule 4(f)(3). Kuhlman, at *2; see also



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  AmaTech, 2021 WL 3674821, at *3 (“it appears that a well-founded belief that a party is residing

  in a country that does not prohibit email service suffices for purposes of Rule 4(f)(3) (both citing

  Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1013 (9th Cir. 2002)). In Rio, the appeals

  court addressed circumstances where reliance on service under Rule 4(f)(3) is appropriate. One

  such instance is when a moving party can demonstrate that the facts and circumstances

  necessitate district court intervention “in the face of an ‘inability to serve an elusive international

  defendant, striving to evade service of process.’” AmaTech, at *3 (quoting Rio at 1016). That

  appears to be the situation here. As Ms. Kim’s declaration suggests, Anna’s Archive “seems to

  be striving, either actively or passively to evade [OCLC’s] efforts to serve [it].” Id. at *4.

         This conclusion, however, does not end the Court’s analysis. Instead, Plaintiff also must

  demonstrate that “the chosen method comports with constitutional notions of due process,

  namely that the service of process be ‘reasonably calculated, under all the circumstances, to

  apprize interested parties of the pendency of the action and afford them an opportunity to present

  their objections.’” Lexmark Int’l, 295 F.R.D. at 261 (quoting Studio A Entm’t, Inc. v. Active

  Distrib., Inc., No. 1:06-cv-2496, 2008 WL 162785, at *2–3 (N.D. Ohio Jan. 15, 2008)). On this

  issue, OCLC has submitted a declaration from its counsel Jeffrey M. Walker. (Declaration of

  Jeffrey M. Walker, ECF No. 9-2, “Walker Decl.”)

         According to Mr. Walker’s declaration, the primary domains utilized by Anna’s Archive

  “provide an anonymized, principal email address, annaarchivist@proton.me, under a “Stay in

  touch” section toward the bottom of the primary domains’ home pages, … indicat[ing] that

  Anna’s Archive is actively monitoring this email address for general inquiries (Walker Decl. at

  ⁋ 4, Exhibit A.) Mr. Walker further states that, “[o]n October 26, 2023, [he] sent a cease-and-

  desist letter on behalf of OCLC to Anna’s Archive at this principal email address, requesting that



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  Anna’s Archive immediately stop the misuse and distribution of the WorldCat® data that

  Defendants had illegally hacked, scraped, and harvested.” (Id. at ⁋ 5, Exhibit B.) The letter

  included a request that Anna’s Archive take down from its websites all links to OCLC’s data,

  delete copies of the data, and cease its encouragement of others to engage in similar behavior.

  (Id.) Mr. Walker received no bounce-back or other error messages in connection with this

  email. (Id. at ⁋ 6.) Between October 26, 2023, and November 13, 2023, Anna’s Archive deleted

  its X account (formerly Twitter), indicating that Anna’s Archive had received OCLC’s cease-

  and- desist letter and was taking actions in response to the letter. (Id. at ⁋ 7.)

          Mr. Walker states that, in the October 3, 2023, blog post publicizing its illegal hacking,

  data scraping, and harvesting of WorldCat.org, Anna’s Archive announced that it was a hosting a

  “mini-competition to analyze these data” and that “[t]he 3 best submissions by 2023-12-01 will

  win a year-long membership of Anna’s Archive.” (Walker Decl. at ⁋ 8, Exhibit C.) To date,

  Anna’s Archive has not announced any winners of this “mini-competition” on its blog or other

  domains, indicating that Anna’s Archive received OCLC’s cease-and-desist letter and was taking

  actions in response to the letter. (Id. at ⁋ 9.)

          Mr. Walker further explains that, through its Primary Domains, Anna’s Archive provides

  another email address, AnnaDMCA@proton.me, also under the “Stay in touch” section on the

  websites’ home pages. (Walker Decl. at ⁋ 10, Exhibit A.) Anna’s Archive holds this email

  address out as the address where users can lodge complaints under the Digital Millennium

  Copyright Act of 1998 (“DCMA”) with Anna’s Archive or troubleshoot issues with Anna’s

  Archive’s “DCMA/Copyright Claim Form.” According to Mr. Walker, this indicates that

  Anna’s Archive is actively monitoring this email address in order to respond to legal issues

  related to the DCMA and other copyright laws. (Id. at ⁋ 11, Exhibit D.) Anna’s Archive also



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  provides the email address AnnaArchivist+security@proton.me on a webpage dedicated to

  security issues. (Id. at ⁋ 12.) On this webpage, Anna’s Archive invites “security researchers” to

  “[c]ontact us” with “vulnerabilities in our systems.” (Id.) In Mr. Walker’s view, this statement

  demonstrates that Anna’s Archive is actively monitoring this email address in order to rectify

  security issues on the systems critical for its operations. (Id.)

         Finally, Mr. Walker asserts that the domain registration for annas-archive.org belongs to

  Tucows, Inc., an entity that offers domain name services so that an individual or entity can

  obscure their identity and identifying information, which must be provided when a domain name

  is purchased and registered with the Internet Corporation for Assigned Names and Numbers

  (“ICANN”). The only email address for reporting domain abuse on the ICANN registration for

  annas-archive.org is domainabuse@tucows.com. (Id. at ⁋ 13.)

         Based on the detailed information set forth in Mr. Walker’s declaration, the Court is

  satisfied that serving Anna’s Archive via email comports with due process. Accordingly, OCLC

  may serve Anna’s Archive via email pursuant to Rule 4(f)(3).

         For these reasons, Plaintiff’s Motion to Serve Defendant Anna’s Archive by Email (ECF

  No. 9) is GRANTED. Plaintiff is authorized to serve Defendant Anna’s Archive at the

  following email addresses:

   AnnaArchivist@proton.me,
   AnnaDMCA@proton.me,
  AnnaArchivist+security@proton.me, and
  domainabuse@tucows.com.

  Plaintiff shall present to the Office of the Clerk summons directed to Defendant Anna’s Archive

  at these email addresses. Plaintiff shall serve the Complaint, summons, and the other case-

  initiating documents upon Defendant Anna’s Archive. Plaintiff’s counsel shall file a declaration

  of proof of service in lieu of a signed receipt.

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         IT IS SO ORDERED.

                                               /s/ Elizabeth A. Preston Deavers______
  DATED: March 22, 2024                        ELIZABETH A. PRESTON DEAVERS
                                               UNITED STATES MAGISTRATE JUDGE




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ District of
                                                                        of __________
                                                                           Ohio

                          OCLC, Inc.,                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:24-cv-144
                                                                     )
                    Anna's Archive, et al.,                          )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Anna's Archive
                                           email addresses: AnnaArchivist@proton.me,
                                                            AnnaDMCA@proton.me,
                                                            AnnaArchivist+security@proton.me, and
                                                            domainabuse@tucows.com




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jeffrey M. Walker
                                           Traci L. Martinez
                                           Kathryn M. Brown
                                           Brittany Silverman
                                           SQUIRE PATTON BOGGS (US) LLP
                                           41 South High Street, 2000 Huntington Center
                                           Columbus, Ohio 43215
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-144

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
     Case:
       Case:
           2:24-cv-00144-MHW-EPD
             2:24-cv-00144-MHW-EPD
                                 Doc
                                   Doc
                                     #: #:
                                        38-2
                                           16 Filed:
                                              Filed: 06/28/24
                                                     03/27/24 Page:
                                                              Page: 16
                                                                    1 ofof286PAGEID
                                                                               PAGEID
                                                                                    #: #:
                                                                                       275623

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ District of
                                                                        of __________
                                                                           Ohio

                          OCLC, Inc.,                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 2:24-cv-144
                                                                     )
                    Anna's Archive, et al.,                          )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Anna's Archive
                                           email addresses: AnnaArchivist@proton.me,
                                                            AnnaDMCA@proton.me,
                                                            AnnaArchivist+security@proton.me, and
                                                            domainabuse@tucows.com




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jeffrey M. Walker
                                           Traci L. Martinez
                                           Kathryn M. Brown
                                           Brittany Silverman
                                           SQUIRE PATTON BOGGS (US) LLP
                                           41 South High Street, 2000 Huntington Center
                                           Columbus, Ohio 43215
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             03/27/2024
                                                                                          Signature of Clerk or Deputy Clerk
      Case:
        Case:
            2:24-cv-00144-MHW-EPD
              2:24-cv-00144-MHW-EPD
                                  Doc
                                    Doc
                                      #: #:
                                         38-2
                                            16 Filed:
                                               Filed: 06/28/24
                                                      03/27/24 Page:
                                                               Page: 17
                                                                     2 ofof286PAGEID
                                                                                PAGEID
                                                                                     #: #:
                                                                                        276624

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-144

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
Case:
   Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                            DocDoc
                                #: 38-2
                                    #: 3 Filed:
                                         Filed: 06/28/24
                                                01/12/24 Page:
                                                         Page: 18
                                                               1 ofof386PAGEID
                                                                          PAGEID
                                                                               #: #:
                                                                                  59625



                                THE UNITED STATES DISTRICT COURT FOR
                                   THE SOUTHERN DISTRICT OF OHIO


 OCLC, Inc.
 ___________________________                          :
 Plaintiff(s),                                        :              24-cv-144
                                                           Case No: _______________________
                                                      :
 vs.                                                  :
                                                      :
 ___________________________
 Anna's Archive f/k/a Pirate Library Mirror et al.,   :
 Defendant(s).                                        :


                                   CITIZENSHIP DISCLOSURE STATEMENT

                                                                        OCLC, Inc.
           This Citizenship Disclosure Statement is filed on behalf of ___________________________

 in compliance with the provisions of Rule 7.1(a)(2) of the Federal Rules of Civil Procedure, which

 provides that in an action in which jurisdiction is based on diversity under 28 U.S.C. § 1332(a), a

 party or intervenor must, unless the court orders otherwise, file a disclosure statement that lists the

 name, and identifies the citizenship of, every individual or entity whose citizenship is attributed to

 that party or intervenor when the action is filed in or removed to federal court, and when any later event

 occurs that could affect the court’s jurisdiction under § 1332(a).

           Pursuant to Fed. R. Civ. P. 7.1(a)(2), the filing party, or intervenor, hereby declares the

 following names and citizenships of every individual or entity whose citizenship is attributed to that

 party or intervenor: (Attach additional pages if needed.)



  OCLC, Inc.
 _____________________________                                     Ohio
                                                                   _____________________________
 Individual or Entity Name                                         Citizenship


 _____________________________
  Anna's Archive f/k/a Pirate Library Mirror et al.                Foreign
                                                                   _____________________________
 Individual or Entity Name                                         Citizenship
Case:
   Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                            DocDoc
                                #: 38-2
                                    #: 3 Filed:
                                         Filed: 06/28/24
                                                01/12/24 Page:
                                                         Page: 19
                                                               2 ofof386PAGEID
                                                                          PAGEID
                                                                               #: #:
                                                                                  60626




  _____________________________
   Maria Dolores Anasztasia Matienzo                 Washington (State)
                                                     _____________________________
  Individual or Entity Name                          Citizenship

   John Does #1-20                                   Foreign
  _____________________________                      _____________________________
  Individual or Entity Name                          Citizenship



        A supplemental citizenship disclosure statement will be filed upon any change in the
  information provided herein.


  ____________________________                           _____________________________
  Date                                                   Signature

                                                         _____________________________
                                                         Counsel For
Case:
   Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                            DocDoc
                                #: 38-2
                                    #: 3 Filed:
                                         Filed: 06/28/24
                                                01/12/24 Page:
                                                         Page: 20
                                                               3 ofof386PAGEID
                                                                          PAGEID
                                                                               #: #:
                                                                                  61627




                                  CERTIFICATE OF SERVICE

         On January 12, 2024, this document was filed electronically with the Clerk of the United

  States District Court for the Southern District of Ohio, Eastern Division, which will electronically

  serve a copy of the foregoing on all counsel of record for all parties. Additionally, this document

  will be served upon the parties with the summons and complaint in this matter at the following

  addresses:

         Maria A. Matienzo
         5127 S. Holly St.
         Seattle, WA 98118




                                                       /s/ Jeffrey M. Walker
                                                       One of the Attorneys for Plaintiff
              Case:
                Case:
JS 44 (Rev. 04/21)  2:24-cv-00144-MHW-EPD
                       2:24-cv-00144-MHW-EPD
                                           Doc
                                             Doc
                                         CIVIL #:COVER
                                                 38-2
                                                 #: 1-3Filed:
                                                        Filed:06/28/24
                                                               01/12/24Page:
                                                           SHEET        Page:21
                                                                              1 of 86
                                                                                   3 PAGEID
                                                                                      PAGEID#:#:52
                                                                                                 628
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
                                                                                                         Anna's Archive, Maria Dolores Anasztasia Matienzo, and
          OCLC, Inc.
                                                                                                         John Does 1-20
    (b) County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant King County (WA)
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          See attachment

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  3   Federal Question                                                                  PTF          DEF                                       PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                    Citizen of This State            10        ❑  1    Incorporated or Principal Place       0 4     40
                                                                                                                                                     of Business In This State

    2   U.S. Government              0 4 Diversity
                                           (Indicate Citizenship of Parties in Item III)
                                                                                                Citizen of Another State          ❑2 0         2   Incorporated and Principal Place      0 5 05
          Defendant                                                                                                                                  of Business In Another State

                                                                                                Citizen or Subject of a           ❑ 3 El 3 Foreign Nation                                 El 6 El 6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                          FORFEITURE/PENALTY                         BANKRUPTCY                     OTHER STATUTES
■ 110 Insurance                        PERSONAL INJURY              PERSONAL INJURY            ❑ 625 Drug Related Seizure     ■ 422 Appeal 28 USC 158                 ❑ 375 False Claims Act
    120 Marine                         310 Airplane                  ■
                                                                   365 Personal Injury -               of Property 21 USC 881 ■ 423 Withdrawal                        ❑ 376 Qui Tam (31 USC
    130 Miller Act
    140 Negotiable Instrument
                                       315 Airplane Product
                                            Liability
                                                                     ■ Product Liability
                                                                   367 Health Care/
                                                                                                   690 Other                        28 USC 157
                                                                                                                                           INTELLECTUAL
                                                                                                                                                                            3729(a))
                                                                                                                                                                          400 State Reapportionment
    150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                 410 Antitrust
        & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                  430 Banks and Banking
    151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                      450 Commerce
    152 Recovery of Defaulted               Liability                ■
                                                                   368 Asbestos Personal                                                  835 Patent - Abbreviated        460 Deportation
         Student Loans                 340 Marine                      Injury Product                                                         New Drug Application        470 Racketeer Influenced and
         (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                       Corrupt Organizations
    153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                         LABOR                         880 Defend Trade Secrets        480 Consumer Credit
        of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                 710 Fair Labor Standards                   Act of 2016                     (15 USC 1681 or 1692)
■   160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                Act                                                                485 Telephone Consumer
o   190 Other Contract                     Product Liability         ■
                                                                   380 Other Personal          ❑   720 Labor/Management                   SOCIAL SECURITY                     Protection Act
    195 Contract Product Liability     360 Other Personal              Property Damage                 Relations                          861 HIA (1395ff)                490 Cable/Sat TV
    196 Franchise                          Injury                    ■
                                                                   385 Property Damage             740 Railway Labor Act                  862 Black Lung (923)            850 Securities/Commodities/
                                       362 Personal Injury -
                                           Medical Malpractice
                                                                       Product Liability           751 Family and Medical
                                                                                                       Leave Act
                                                                                                                                      ❑   863 DIWC/DIWW (405(g))
                                                                                                                                          864 SSID Title XVI
                                                                                                                                                                              Exchange
                                                                                                                                                                          890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS               790 Other Labor Litigation             865 RSI (405(g))                891 Agricultural Acts
• 210 Land Condemnation                440 Other Civil Rights      Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                    441 Voting                    ■
                                                                   463 Alien Detainee                  Income Security Act                FEDERAL TAX SUITS               895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment                ■
                                                                   510 Motions to Vacate                                              ■ 870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land
    245 Tort Product Liability
                                       443 Housing/
                                           Accommodations            ■ Sentence
                                                                   530 General                                                        ■ 871 IRS—Third
                                                                                                                                             or Defendant)
                                                                                                                                                        Party
                                                                                                                                                                          896 Arbitration
                                                                                                                                                                          899 Administrative Procedure
❑   290 All Other Real Property        445 Amer. w/Disabilities -
                                           Employment
                                                                     ■
                                                                   535 Death Penalty
                                                                   Other:
                                                                                                       IMMIGRATION
                                                                                                   462 Naturalization Application
                                                                                                                                               26 USC 7609                    Act/Review or Appeal of
                                                                                                                                                                              Agency Decision
                                       446 Amer. w/Disabilities -  540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                           Other                   550 Civil Rights                    Actions                                                                State Statutes
                                       448 Education               555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
O 1 Original
    Proceeding
                           2 Removed from
                             State Court
                                                              3     Remanded from
                                                                    Appellate Court
                                                                                             4 Reinstated or
                                                                                               Reopened
                                                                                                                          5 Transferred from
                                                                                                                            Another District
                                                                                                                                                    6 Multidistrict
                                                                                                                                                        Litigation -
                                                                                                                                                                                      8 Multidistrict
                                                                                                                                                                                        Litigation -
                                                                                                                            (specify)                   Transfer                        Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         28 U.S.C. 1332
VI. CAUSE OF ACTION Brief description of cause:
                                         Breach of contract, unjust enrichment, tortious interference of contract/business relationships, and other tort and statutory claims under Ohio law.
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                      DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                             More than $75,000                            JURY DEMAND:         O Yes ❑ No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                         JUDGE                                                                DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                   APPLYING IFP                                   JUDGE                           MAG. JUDGE
             Case:
               Case:
                   2:24-cv-00144-MHW-EPD
                      2:24-cv-00144-MHW-EPD
JS 44 Reverse (Rev. 04/21)                Doc
                                            Doc
                                              #: 38-2
                                                 #: 1-3Filed:
                                                        Filed:06/28/24
                                                               01/12/24Page:
                                                                        Page:22
                                                                              2 of 86
                                                                                   3 PAGEID
                                                                                      PAGEID#:#:53
                                                                                                 629
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case:
  Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                             Doc
                               Doc
                                 #: 38-2
                                    #: 1-3Filed:
                                           Filed:06/28/24
                                                  01/12/24Page:
                                                           Page:23
                                                                 3 of 86
                                                                      3 PAGEID
                                                                         PAGEID#:#:54
                                                                                    630




                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

   OCLC, Inc.,

                 Plaintiff,

          v.

   ANNA’S ARCHIVE, f/k/a PIRATE
   LIBRARY MIRROR, MARIA DOLORES
   ANASZTASIA MATIENZO, and JOHN
   DOES #1–20,

                 Defendants.


                         ATTACHMENT TO CIVIL COVER SHEET


  1(c): Plaintiff OCLC, Inc’s Attorneys

  Jeffrey M. Walker (0096567), Trial Attorney
  Traci L. Martinez (0083989)
  Kathryn M. Brown (0100426)
  Brittany Silverman (0102263)
  SQUIRE PATTON BOGGS (US) LLP
  2000 Huntington Center
  41 South High Street
  Columbus, Ohio 43215
  Telephone: +1 614 365 2700
  Facsimile: +1 614 365 2499
Case:
   Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                            DocDoc
                                #: 38-2
                                    #: 2 Filed:
                                         Filed: 06/28/24
                                                01/12/24 Page:
                                                         Page: 24
                                                               1 ofof286PAGEID
                                                                          PAGEID
                                                                               #: #:
                                                                                  57631



                                     THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF OHIO
                                            EASTERN
                                              EASTERNDIVISION
                                                      DIVISION

                                                             :
  OCLC, Inc.
  __________________________________                         :               24-cv-144
                                                                   Case No. _________________
                                                             :     Judge: ___________________
                     v.                                      :     Corporate Disclosure Statement
                                                             :
  Anna's Archive, f/k/a Pirate Library Mirror, et al.
  __________________________________                         :
                                                             :

          Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 7.1.1: Any non-
  governmental corporate party to a proceeding must file a Corporate Affiliations/Financial Interest
  statement identifying all of its parent, subsidiary and other affiliate corporations and listing any publicly
  held company that “controls, is controlled by, or is under common control with a publicly controlled
  corporation.” A party must file the statement upon filing a complaint, answer, motion, response or other
  pleadings in this Court, whichever occurs first. The obligation to disclose any changes will be continuing
  throughout the pendency of this case.

           In Compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:

           Plaintiff OCLC, Inc.
           _______________________________________________________________________.

  1.       Is said party a parent, subsidiary or other affiliate of a publicly owned corporations?

           ___ YES              ✔ NO
                               ___

           If the answer is YES, list below the identity of the parent, subsidiary or other affiliate corporation
           and the relationship between it and the named party:
           ________________________________________________________________________
           ________________________________________________________________________

  2.       Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
           outcome?

           ___ YES              ✔ NO
                               ___

           If the answer is YES, list the identity of such corporation and the nature of the financial interest.
           ________________________________________________________________________
           ________________________________________________________________________
           ________________________________________________________________________

           /s/ Jeffrey M. Walker
           ______________________________                                     ________________________
           Signature of Counsel                                               Date


                                                   “Certificate of Service”

                  COUNSEL ARE REMINDED OF THEIR CONTINUING OBLIGATION
                       TO UPDATE AND SUPPLEMENT THIS STATEMENT
Case:
   Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                            DocDoc
                                #: 38-2
                                    #: 2 Filed:
                                         Filed: 06/28/24
                                                01/12/24 Page:
                                                         Page: 25
                                                               2 ofof286PAGEID
                                                                          PAGEID
                                                                               #: #:
                                                                                  58632




                                  CERTIFICATE OF SERVICE

         On January 12, 2024, this document was filed electronically with the Clerk of the United

  States District Court for the Southern District of Ohio, Eastern Division, which will electronically

  serve a copy of the foregoing on all counsel of record for all parties. Additionally, this document

  will be served upon the parties with the summons and complaint in this matter at the following

  addresses:

         Maria A. Matienzo
         5127 S. Holly St.
         Seattle, WA 98118




                                                       /s/ Jeffrey M. Walker
                                                       One of the Attorneys for Plaintiff
Case:
   Case:
      2:24-cv-00144-MHW-EPD
         2:24-cv-00144-MHW-EPD
                            DocDoc
                                #: 38-2
                                    #: 6 Filed:
                                         Filed: 06/28/24
                                                01/12/24 Page:
                                                         Page: 26
                                                               1 ofof286PAGEID
                                                                          PAGEID
                                                                               #: #:
                                                                                  66633




                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   OCLC, Inc.,                                            Case No. 2:24-cv-00144-MHW-EPD

                  Plaintiff,                              Judge Michael H. Watson

          v.                                              Magistrate Judge Elizabeth A. Preston
                                                          Deavers
   ANNA’S ARCHIVE, f/k/a PIRATE
   LIBRARY MIRROR, MARIA DOLORES
   ANASZTASIA MATIENZO, and JOHN
   DOES #1–20

                  Defendants.


                           NOTICE OF APPEARANCE OF COUNSEL


         Please take notice that Kathryn M. Brown of Squire Patton Boggs (US) LLP hereby enters

  her appearance as additional Counsel for Plaintiff OCLC, Inc., and requests that all further notices,

  orders, or other items required to be served be sent to the undersigned.

  Dated: January 12, 2024                            Respectfully submitted,

                                                     /s/ Kathryn M. Brown
                                                     Jeffrey M. Walker (0096567), Trial Attorney
                                                     Traci L. Martinez (0083989)
                                                     Kathryn M. Brown (0100426)
                                                     Brittany Silverman (0102263)
                                                     SQUIRE PATTON BOGGS (US) LLP
                                                     2000 Huntington Center
                                                     41 South High Street
                                                     Columbus, Ohio 43215
                                                     Telephone: +1 614 365 2700
                                                     Facsimile: +1 614 365 2499
                                                     jeffrey.walker@squirepb.com
                                                     traci.martinez@squirepb.com
                                                     kathryn.brown@squirepb.com
                                                     brittany.silverman@squirepb.com

                                                     Attorneys for Plaintiff OCLC, Inc.
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                                  CERTIFICATE OF SERVICE

         On January 12, 2024, this document was filed electronically with the Clerk of the United

  States District Court for the Southern District of Ohio, Eastern Division, which will electronically

  serve a copy of the foregoing on all counsel of record for all parties. Additionally, this document

  will be served upon the parties with the summons and complaint in this matter at the following

  addresses:

         Maria Matienzo
         5127 S. Holly St.
         Seattle, WA 98118




                                                       /s/ Kathryn M. Brown
                                                       One of the Attorneys for Plaintiff
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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   OCLC, Inc.,                                           Case No. 2:24-cv-144

                  Plaintiff,                             Judge

          v.                                             Magistrate Judge

   ANNA’S ARCHIVE, f/k/a PIRATE
   LIBRARY MIRROR, MARIA DOLORES
   ANASZTASIA MATIENZO, and JOHN
   DOES #1–20

                  Defendants.


                          NOTICE OF APPEARANCE OF COUNSEL


         Please take notice that Jeffrey M. Walker of Squire Patton Boggs (US) LLP hereby enters

  his appearance as Trial Attorney for Plaintiff OCLC, Inc., and requests that all further notices,

  orders, or other items required to be served be sent to the undersigned.

  Dated: January 12, 2024                           Respectfully submitted,

                                                    /s/ Jeffrey M. Walker
                                                    Jeffrey M. Walker (0096567), Trial Attorney
                                                    Traci L. Martinez (0083989)
                                                    Kathryn M. Brown (0100426)
                                                    Brittany Silverman (0102263)
                                                    SQUIRE PATTON BOGGS (US) LLP
                                                    2000 Huntington Center
                                                    41 South High Street
                                                    Columbus, Ohio 43215
                                                    Telephone: +1 614 365 2700
                                                    Facsimile: +1 614 365 2499
                                                    jeffrey.walker@squirepb.com
                                                    traci.martinez@squirepb.com
                                                    kathryn.brown@squirepb.com
                                                    brittany.silverman@squirepb.com

                                                    Attorneys for Plaintiff OCLC, Inc.
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         Maria A. Matienzo
         5127 S. Holly St.
         Seattle, WA 98118



                                                       /s/ Jeffrey M. Walker
                                                       One of the Attorneys for Plaintiff
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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   OCLC, Inc.,                                            Case No. 2:24-cv-00144-MHW-EPD

                  Plaintiff,                              Judge Michael H. Watson

          v.                                              Magistrate Judge Elizabeth A. Preston
                                                          Deavers
   ANNA’S ARCHIVE, f/k/a PIRATE
   LIBRARY MIRROR, MARIA DOLORES
   ANASZTASIA MATIENZO, and JOHN
   DOES #1–20

                  Defendants.


                           NOTICE OF APPEARANCE OF COUNSEL


         Please take notice that Brittany Silverman of Squire Patton Boggs (US) LLP hereby enters

  her appearance as additional Counsel for Plaintiff OCLC, Inc., and requests that all further notices,

  orders, or other items required to be served be sent to the undersigned.

  Dated: January 12, 2024                            Respectfully submitted,

                                                     /s/ Brittany Silverman
                                                     Jeffrey M. Walker (0096567), Trial Attorney
                                                     Traci L. Martinez (0083989)
                                                     Kathryn M. Brown (0100426)
                                                     Brittany Silverman (0102263)
                                                     SQUIRE PATTON BOGGS (US) LLP
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                                                     kathryn.brown@squirepb.com
                                                     brittany.silverman@squirepb.com

                                                     Attorneys for Plaintiff OCLC, Inc.
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         Maria A. Matienzo
         5127 S. Holly St.
         Seattle, WA 98118



                                                       /s/ Brittany Silverman
                                                       One of the Attorneys for Plaintiff
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      SouthernDistrict
                                                   __________ District of
                                                                       of __________
                                                                          Ohio

                          OCLC, Inc.                               )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 24-cv-144
                                                                   )
  Anna's Archive, f/k/a Pirate Library Mirror, Maria               )
 Dolores Anasztasia Matienzo, and John Does #1-20                  )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Maria A. Matienzo
                                           5127 S. Holly St.
                                           Seattle, WA 98118




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Jeffrey M. Walker
                                           SQUIRE PATTON BOGGS (US) LLP
                                           2000 Huntington Center
                                           41 South High Street
                                           Columbus, Ohio 43215


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 24-cv-144

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   OCLC, Inc.,                                            Case No. 2:24-cv-00144-MHW-EPD

                  Plaintiff,                              Judge Michael H. Watson

          v.                                              Magistrate Judge Elizabeth A. Preston
                                                          Deavers
   ANNA’S ARCHIVE, f/k/a PIRATE
   LIBRARY MIRROR, MARIA DOLORES
   ANASZTASIA MATIENZO, and JOHN
   DOES #1–20

                  Defendants.


                           NOTICE OF APPEARANCE OF COUNSEL


         Please take notice that Traci L. Martinez of Squire Patton Boggs (US) LLP hereby enters

  her appearance as additional Counsel for Plaintiff OCLC, Inc., and requests that all notices, orders,

  or other items required to be served be sent to the undersigned.

  Dated: January 12, 2024                            Respectfully submitted,

                                                     /s/ Traci L. Martinez
                                                     Jeffrey M. Walker (0096567), Trial Attorney
                                                     Traci L. Martinez (0083989)
                                                     Kathryn M. Brown (0100426)
                                                     Brittany Silverman (0102263)
                                                     SQUIRE PATTON BOGGS (US) LLP
                                                     2000 Huntington Center
                                                     41 South High Street
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                                                     jeffrey.walker@squirepb.com
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                                                     kathryn.brown@squirepb.com
                                                     brittany.silverman@squirepb.com

                                                     Attorneys for Plaintiff OCLC, Inc.



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                                  CERTIFICATE OF SERVICE

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  Maria A. Matienzo
  5127 Holly Street
  Seattle, WA 98118



                                                       /s/Traci L. Martinez
                                                       One of the Attorneys for Plaintiff




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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   OCLC, Inc.,                                            Case No. 24-cv-144

                  Plaintiff,                              Judge

          v.                                              Magistrate Judge

   ANNA’S ARCHIVE, f/k/a PIRATE
   LIBRARY MIRROR, MARIA DOLORES                          DEMAND FOR JURY TRIAL
   ANASZTASIA MATIENZO and JOHN
   DOES #1–20,

                  Defendants.


           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND
                                DAMAGES


         OCLC, Inc., (“OCLC”), by and through counsel, files this Complaint for injunctive relief

  and damages against Anna’s Archive, formerly known as Pirate Library Mirror, Maria Dolores

  Anasztasia Matienzo, and John Does #1–20, individually and doing business as Anna’s Archive,

  (“Defendants”), and in support thereof, states the following:

                                       NATURE OF ACTION

         1.      OCLC is an Ohio non-profit organization founded in 1967 that provides shared

  technology services, original research, and community programs for its membership and the

  library community at large.

         2.      OCLC provides the digital infrastructure and services for libraries to collaborate,

  create, and share bibliographic records, which results in efficiencies and lowering overall costs for

  record creation. OCLC offers a range of products and services to address the challenges faced by
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  libraries through sharing data, streamlining workflows, and connecting people to the knowledge

  held in the world’s library collections.

         3.      At the center of OCLC’s products and services is its database of bibliographic

  records and associated metadata, which OCLC markets as WorldCat®.              WorldCat® is the

  authoritative source of library bibliographic records, which member libraries use primarily for

  cataloging purposes.

         4.      OCLC has spent more than 55 years and hundreds of millions of dollars, including

  approximately 68 million dollars over the past two years and 162 million dollars over the past five

  years, developing and enhancing its WorldCat® records. WorldCat® is an integral part of OCLC’s

  other product and service offerings to libraries and academic institutions around the world and is

  an essential part of OCLC’s overall business, making up an average of 40% of OCLC’s revenue

  over the past 5 years.

         5.      OCLC also maintains and operates the world’s largest library catalog website called

  WorldCat.org. WorldCat.org is a search engine that allows individuals to easily search the world’s

  libraries by connecting thousands of library collections in one place.

         6.      To accomplish this, WorldCat.org allows individuals to search member libraries’

  catalogs as represented by their corresponding WorldCat® records in the WorldCat® database.

  When an individual views a search result from WorldCat.org, they see a more limited view of a

  WorldCat® record, i.e., with less metadata than is available for the record in the WorldCat®

  database for cataloging purposes.

         7.      When OCLC member libraries subscribe to WorldCat® through OCLC’s

  WorldCat® Discovery Services/FirstSearch, the subscription includes the WorldCat.org service.

  Libraries are willing to pay for WorldCat.org as part of their WorldCat® subscription because




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  WorldCat.org creates online visibility for member libraries and traffic, both digital and physical,

  to libraries’ holdings.

          8.      OCLC has also invested substantial resources in WorldCat.org. Over the past three

  years, OCLC has spent nearly $6.8 million on WorldCat.org, improving WorldCat.org’s features,

  user interface, search infrastructure, application infrastructure, networking, and more.

          9.      Beginning in the fall of 2022, OCLC began experiencing cyberattacks on

  WorldCat.org and OCLC’s servers that significantly affected the speed and operations of

  WorldCat.org, other OCLC products and services, and OCLC’s servers and network infrastructure.

  These attacks continued throughout the following year, forcing OCLC to devote significant time

  and resources toward non-routine network infrastructure enhancements, maintenance, and

  troubleshooting.

          10.     In October 2023, OCLC learned that Anna’s Archive, a “pirate” or “shadow”

  library, and the individuals who run it had illegally hacked WorldCat.org over the previous year,

  harvesting and stealing 2.2 terabytes (“TB”) of WorldCat® data—what Anna’s Archive describes

  as “700 million unique actual records.” Anna’s Archive has since made OCLC’s WorldCat® data

  available for en masse for free download and now is actively encouraging its visitors to make use

  of the data in “interesting” ways.

          11.     Defendants Anna’s Archive, Maria Dolores Anasztasia Matienzo, and John Does

  #1–20, the individuals operating and doing business as Anna’s Archive, have no legal justification

  for their actions and admit that their general operations violate U.S. and other jurisdictions’

  copyright laws. Defendants also are well aware of the risk of their illegal actions—that they may

  be identified and held personally liable, and that Anna’s Archive may be shut down. To that end,




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  Defendants maintain alternative domains for Anna’s Archive and actively conceal their individual

  identities.

          12.    Defendants’ hacking of WorldCat.org is yet another iteration of the pirate library’s

  flagrant disregard for the law and the work of others—this time, the decades of work and

  investment that OCLC and its member libraries have spent developing and enhancing the

  bibliographical data in WorldCat®. In the words of Anna’s Archive, they have taken OCLC’s

  WorldCat® data and are “giving it all away.”

          13.    Moreover, Defendants recognize the value of the WorldCat.org search engine and

  WorldCat® data. In the blog post announcing their hacking and scraping of the data via

  WorldCat.org, Defendants publicly thanked OCLC for “the decades of hard work you put into

  building the collections that we now liberate. Truly: thank you.”

          14.    By hacking WorldCat.org, scraping and harvesting OCLC’s valuable WorldCat®

  data, making the data publicly available in the aggregate, and actively encouraging nefarious use

  of the data, Defendants have breached WorldCat.org’s Terms and Conditions, unjustly enriched

  themselves, tortiously interfered with OCLC’s contractual and business relationships, violated

  Ohio’s anti-hacking statute, and committed trespass to chattels and conversion of OCLC’s

  property.

          15.    Moreover, Defendants openly admit that they engaged in a conspiracy to commit

  these acts, acknowledging that they “set our sights on the largest book database in the world:

  WorldCat,” which they did to create a “TODO list” of books and other materials to pirate.

          16.    OCLC has experienced substantial harm from Defendants’ actions, and it will

  continue to do so unless Defendants are stopped from pursuing their current course of action.




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                                                THE PARTIES

         17.      OCLC is an Ohio nonprofit corporation with its principal place of business in

  Dublin, Ohio.

         18.      Anna’s Archive, formerly known as Pirate Library Mirror (“PiLiMi”), is an illegal

  shadow or pirate library that holds itself out as a non-profit organization. Anna’s Archive is not a

  registered Ohio entity, nor does it have its principal place of business in Ohio.

         19.      Maria Dolores Anasztasia Matienzo 1 is a citizen of Washington and resides in

  Seattle, Washington. Matienzo owns, operates, and/or controls Anna’s Archive.

         20.      John Does #1–20 are unknown persons who also own, operate, and/or control

  Anna’s Archive.

                                   JURISDICTION AND VENUE

         21.      This is a complaint for declaratory relief, injunctive relief, and damages under Ohio

  law for breach of contract, unjust enrichment, tortious interference of contract and business

  relationships, violation of Ohio Revised Code § 2913.04, trespass to chattels, conversion of

  property, and conspiracy to do the same. Jurisdiction is conferred by 28 U.S.C. § 1332 and § 2201.

  The amount in controversy exceeds the value of $75,000, exclusive of interest and costs, and an

  actual controversy exists between the parties.

         22.      Defendants themselves and through their agents and/or affiliates transacted

  business in Ohio; caused tortious injury by an act or omission in Ohio; caused tortious injury in

  Ohio by an act or omission outside Ohio and regularly do or solicit business, engage in a persistent

  course of conduct, and/or derive substantial revenue from services rendered in Ohio; caused



  1
    Defendant Matienzo was known as Mark Andrew Matienzo until November 28, 2022. On
  information and belief, Defendant Matienzo committed some of the acts described in this
  complaint while known as Mark Andrew Matienzo.


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  tortious injury in Ohio to OCLC by an act outside Ohio committed with the purpose of injuring

  OCLC, when they might reasonably have expected OCLC would be injured thereby in Ohio; and

  caused tortious injury to OCLC by a criminal act, several elements of which take place in Ohio,

  which Defendants themselves committed or in the commission of which the Defendants are guilty

  of complicity. Ohio Rev. Code § 2307.382(A)(1), (3), (4), (6), and (7).

          23.     Venue is appropriate in this district under 28 U.S.C. § 1391.

                                       STATEMENT OF FACTS

  I.      OCLC is a Global Library Organization that Provides Vital Technological Services
          to Libraries.

          24.     OCLC is a non-profit, membership, computer library service and research

  organization dedicated to the public purposes of furthering access to the world’s information and

  reducing the rate of the rise in library costs.

          25.     OCLC employs approximately 1,277 people in the United States, Canada, Europe,

  and Asia Pacific, 781 of whom are based in Ohio.

          26.     More than 29,000 libraries in 123 countries and territories around the world have

  used OCLC services to locate, acquire, catalog, lend, preserve, and manage library materials.

          27.     OCLC’s services to the library community fall into four broad categories:

  Management Services, Metadata Services, Discovery and Reference Services, and Resource

  Sharing Services (collectively, “OCLC’s Services”).

          28.     Now more than ever, libraries are faced with a rapidly changing environment,

  evolving user needs, and increasing pressure to maintain a robust presence online. OCLC’s

  Services provide a range of products that address these challenges by sharing data, streamlining

  workflows, and connecting people to the knowledge held in the world’s library collections.




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          A.      WorldCat® is OCLC’s premiere bibliographical record and cataloging
                  product.

          29.     OCLC has spent more than 55 years creating the WorldCat® database into what it

  is today, and it is singularly OCLC’s most valuable asset.

          30.     WorldCat® is the world’s most comprehensive database of information about

  library collections.

          31.     Over 10,000 libraries have subscriptions to use WorldCat®.           These member

  libraries represent academic libraries, such as The Ohio State University; community colleges, like

  Columbus State Community College; public libraries, including the Columbus Metropolitan

  Library; state and government libraries; special libraries, like the Henry Ford Hospital; and library

  consortia, such as OhioLink.

          32.     WorldCat® contains more than 551 million bibliographic records. When these

  records are combined with the more than 27,000 collections from leading publishers, WorldCat®

  provides access to its subscribers of more than 3.4 billion items from a variety of resources.

          33.     WorldCat® is a collection of OCLC member-contributed records, publisher

  records, and OCLC-created records that give libraries a greater web-scale presence. The more

  libraries that participate, the better and more useful WorldCat® becomes to libraries, their end

  users, and other organizations that want to interact with libraries on the Web.

          34.     WorldCat® is also a registry of library holdings. Each member library’s collection

  or holdings is represented in bibliographic records in WorldCat®, creating a network which

  supports research, local discovery, and resource sharing.

          35.     WorldCat® records are bibliographic data regarding a work, such as title, author,

  edition, publisher, number of pages, subject, and classification—and more—obtained from OCLC

  member libraries, publishers, vendors, and national libraries.



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         36.     OCLC has invested significant resources into developing, maintaining, improving,

  and enhancing WorldCat®.

         37.     OCLC merges, de-duplicates, arranges, and adds metadata to enhance these records

  to support discovery of, exploration of, and access to the records. Algorithms look for duplicates

  and provide other data control to maintain the high quality of WorldCat® records.

         38.     This includes adding OCLC’s own unique identifying number, the “OCN,” which

  enhances queries and serves as an authoritative index for specific items or works.

         39.     Of the entire WorldCat® collection, more than 93% of the records have been

  modified, improved, and/or enhanced by OCLC.

         40.     Significant costs are involved in the ongoing provision of the high-quality database

  on which members rely.

         41.     This requires members to share the benefits and costs of WorldCat® as part of the

  overall OCLC Cooperative.

         42.     Because there is a practical need to sustain the economic viability and value of

  WorldCat® over the long term, all members must agree to OCLC’s contractual requirements,

  including the WorldCat® Rights and Responsibilities for the OCLC Cooperative, to be part of the

  OCLC Cooperative (attached here as Exhibit A).

         43.     In turn, OCLC agrees to maintain the exceptionally high quality of WorldCat®

  data, enrich the data, make it available in WorldCat.org for discovery purposes, i.e., so that

  individuals can easily search member libraries’ catalogues, and otherwise “use member-

  contributed data to support its public purposes and to benefit the cooperative.”

         44.     Members must have a paid subscription to use WorldCat®.




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         45.     Not only is WorldCat® data valuable to members, WorldCat® is valuable to

  OCLC. WorldCat® is integrated into and supports nearly all of OCLC’s other products and

  services, including WorldCat.org (albeit in a more limited format).

         B.      WorldCat.org is a powerful search engine for the world’s library catalog.

         46.     WorldCat.org is the world’s largest library catalog website. WorldCat.org connects

  thousands of library collections in one central location, making it easy for individuals to browse

  the world’s libraries from one search platform on the Web.

         47.     WorldCat.org connects individuals to their local libraries by driving search results

  to items in nearby libraries based upon their holdings of those items.

         48.     WorldCat.org’s search engine searches the WorldCat® database.

         49.     When an individual enters a search in WorldCat.org, the individual is taken to a

  results page that allows a user to browse results, select a particular book or other media from the

  results, and view a list of which libraries nearest to them have a copy.

         50.     When an individual selects a result from the search results, the individual can view

  more limited information from a library’s bibliographical record available in WorldCat®.

         51.     The information available through WorldCat.org on a result page includes data that

  is freely accessible on the web, such as title, publication, copyright, author, and editor, and limited

  data “enriched” by OCLC, such as OCN, International Standard Book Number (“ISBN”),

  International Standard Serial Number (“ISSN”), and pagination. This enriched data is more

  difficult to find outside of WorldCat® and varies by each result in WorldCat.org.

         52.     Most WorldCat® data available in a WorldCat® record is unavailable to an

  individual on WorldCat.org. This is because a full WorldCat® record is part of a member library’s

  subscription for cataloging and other library services.




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          53.     WorldCat.org results also include “borrow” buttons that take an individual to the

  library associated with the result so the individual can borrow the book or other material from the

  library directly.

          54.     WorldCat.org creates essential online visibility and traffic for libraries and their

  collections, which member libraries are willing to pay for as part of their WorldCat® Discovery

  Services/FirstSearch subscription.

          55.     OCLC has invested significant resources into developing, maintaining, improving,

  and enhancing WorldCat.org.

          56.     Over the past three years, OCLC has spent nearly $6.8 million reimagining and

  rebuilding WorldCat.org, improving WorldCat.org’s features, user interface, search infrastructure,

  application infrastructure, networking, and more.

          57.     WorldCat.org supports over 3 million users per month.

          58.     When an individual searches on WorldCat.org, the individual agrees to the OCLC

  WorldCat.org Services Terms and Conditions (attached here as Exhibit B). OCLC grants the

  individual a license to use WorldCat® data available on WorldCat.org for a limited purpose, and

  in exchange, the individual agrees, among other limitations, not to use the data for commercial

  use; not to harvest “material amounts” of data; not to distribute, display, or disclose the data; and

  not to store the data.

          59.     Though individuals on WorldCat.org may see some WorldCat® data when they

  view one record at a time, the main value of WorldCat® data is the modifications, improvements,

  and/or enhancements by OCLC to WorldCat® records (most of which are unavailable on

  WorldCat.org) and the aggregate availability of these high-quality records in the WorldCat®

  database.




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  II.    Anna’s Archive is a Well-Known Illegal Pirate Library.

         60.      Defendant Anna’s Archive was created in July 2022.

         61.      Anna’s Archive is “the world’s largest shadow library.”2

         62.      Shadow libraries, also commonly referred to as pirate libraries, are online databases

  and/or search engines that host and/or direct users to books, content, media, and other materials

  online for download that are copyrighted, offered without the consent of the owners and/or creators

  of the content, or not otherwise intended to be publicly accessible.

         63.      In plain terms, pirate libraries illegally distribute and make available copyrighted

  books and other materials for free download, without recognizing the work of publishers, authors,

  editors, journalists, etc., through renumeration or compliance with copyright law.

         64.      Anna’s Archive was created and is operated by a team of anonymous “archivists”

  that refer to themselves as “Anna,” i.e., Defendants Matienzo and John Does #1–20.

         65.      The individual defendants own, operate, control, and/or do business as Anna’s

  Archive and make every effort to remain anonymous because they knowingly engage in illegal

  activity. The individual defendants use usernames as pseudonyms to mask their identities, employ

  domain proxy services, and omit identifying information on the Anna’s Archive’s

  domains/websites and blog, among other strategies, to conceal their identities.3

         66.      There are six internet domains controlled by Defendants in connection with Anna’s

  Archive:     annas-archive.org,   annas-archive.gs,   annas-archive.se,    annas-blog.org,    annas-

  software.org, and pilimi.org.




  2
   Anna’s Blog, https://annas-blog.org/ (last visited Jan. 12, 2024).
  3
   E.g., How to run a shadow library: operations at Anna’s Archive, Anna’s Blog (Mar. 19, 2023),
  https://annas-blog.org/how-to-run-a-shadow-library.html.


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         67.     Anna’s Archive is an online pirate library search engine engaging in and facilitating

  mass copyright infringement.4 Defendants openly acknowledge this, explaining “[w]e deliberately

  violate the copyright law in most countries.”5

         68.     Although Defendants assert that Anna’s Archive’s domains do not host copyrighted

  materials, Anna’s Archive has “mirrored,” or duplicated and stored elsewhere, shadow library

  databases that host copyrighted materials, including, Z-Library,6 Sci-Hub, LibGen, and others.

  Defendants, through the Anna’s Archive’s domains, distribute the data through “torrents,

  announcing it somewhere, [and] getting people to spread it,” i.e., “seed” the torrent.7

         69.     By using Anna’s Archive’s search, visitors can download pirated materials from

  third-party sources and torrent links.8

         70.      Anna’s Archive has two goals. 9 First, to “preserve books, papers, comics,

  magazines, and more, by bringing these materials from various shadow libraries together in one

  place. All this data is preserved forever by making it easy to duplicate it in bulk, resulting in many




  4
     See Wikipedia.org, Anna’s Archive, https://en.wikipedia.org/wiki/Anna%27s_Archive (last
  visited Jan. 12, 2024); About, Anna’s Archive, https://annas-archive.org/about (last visited Jan. 12,
  2024) (noting Anna’s Archive partially maintains its Wikipedia page).
  5
    Introducing the Pirate Library Mirror (EDIT: moved to Anna’s Archive): Preserving 7TB of
  books (that are not in Libgen), Anna’s Blog (July 1, 2022) https://annas-blog.org/blog-
  introducing.html.
  6
    In 2022, the United States arrested and charged the creators of Z Library with criminal copyright
  infringement, wire fraud, and money laundering. Press Release, United States Attorneys’ Office
  Eastern District of New York, Two Russian Nationals Charged with Running Massive E-Book
  Piracy Website (Nov. 16, 2022), https://www.justice.gov/usao-edny/pr/two-russian-nationals-
  charged-running-massive-e-book-piracy-website. The United States seized various domain names
  associated with Z Library. Id.
  7
    How to become a pirate archivist, Anna’s Blog (Oct. 17, 2022), https://annas-blog.org/blog-how-
  to-become-a-pirate-archivist.html.
  8
    A torrent scatters pieces of the files across the internet and on different servers and facilitates
  peer-to-peer file sharing over the BitTorrent protocol; visitors thus download small pieces of an
  original file from different sources.
  9
    About, Anna’s Archive, https://annas-archive.org/about (last visited Jan. 12, 2024).


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  copies around the world.” This goal includes “wide distribution.” Second, to “make our

  collections easily and freely accessible to anyone.”10 These “goals” are merely euphemisms for

  piracy and Defendants’ related illegal activities, such as hacking, data scraping, and data

  harvesting.

         71.     Defendants describe their activities as preserving “all knowledge and culture of

  humanity” and ensuring “this knowledge and culture [is] available to anyone in the world.” In

  reality, Defendants are perpetuating the widespread violation of copyright law and theft of

  intellectual property with the clear knowledge that their actions are illegal and damaging to

  creators.

         72.     Although Defendants describe their illegal Anna’s Archive enterprise as a “non-

  profit,” they encourage donations in the form of a monthly subscription. These subscriptions range

  from $5 to $100 a month and offer a variety of increasing benefits commensurate with increasing

  subscription fees—primarily, the volume and speed of downloads from its torrents.

         73.     For example, a $5 per month subscription will give a visitor “20 fast downloads per

  day,” while a $100 per month subscription grants a visitor “1000 fast downloads per day” and

  naming rights to a torrent file on Anna’s Archive (“Adopt a torrent”).11

         74.     As of January 12, 2024, Anna’s Archive boasts a daily download rate of 370,000.12

  III.   Defendants Illegally Scrape and Harvest Data from WorldCat.org.

         75.     Beginning in October 2022, OCLC suffered persistent attacks to WorldCat.org and

  its servers. These attacks continued for roughly a year.




  10
     Id.
  11
     Donate, Anna’s Archive, https://annas-archive.org/donate (last visited Jan. 12, 2024).
  12
     See supra, note 9.


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         76.     These attacks were accomplished with bots (automated software applications) that

  “scraped” and harvested data from WorldCat.org and other WorldCat®-based research sites and

  that called or pinged the server directly. These bots were initially masked to appear as legitimate

  search engine bots from Bing or Google.

         77.     To scrape or harvest the data on WorldCat.org, the bots searched WorldCat.org

  results, running a script based on OCN for individual JavaScript Object Notation, or “JSON,”

  records. As a result, WorldCat® data including freely accessible and enriched data, such as OCNs,

  were scraped from individual results on WorldCat.org.

         78.     The bots also harvested data from WorldCat.org by pretending to be an internet

  browser, directly calling or “pinging” OCLC’s servers, and bypassing the search, or user interface,

  of WorldCat.org. More robust WorldCat® data was harvested directly from OCLC’s servers,

  including enriched data not available through the WorldCat.org user interface.

         79.     Finally, WorldCat® data was harvested from a member’s website incorporating

  WorldCat® Discovery Services, a subscription-based variation of WorldCat.org that is available

  only to a member’s patrons. Again, the hacker pinged OCLC’s servers to harvest WorldCat®

  records directly from the servers. To do this through WorldCat® Discovery Services/FirstSearch,

  the hacker obtained and used the member’s credentials to authenticate the requests to the server as

  a member library.

         80.     From WorldCat® Discovery Services, hackers harvested 2 million richer

  WorldCat® records that included data not available in WorldCat.org. This hacking method

  resulted in the harvesting of some of OCLC’s most proprietary fields of WorldCat® data.

         81.     These hacking attacks materially affected OCLC’s production systems and servers,

  requiring around-the-clock efforts from November 2022 to March 2023 to attempt to limit service




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  outages and maintain the production systems’ performance for customers. To respond to these

  ongoing attacks, OCLC spent over 1.4 million dollars on its systems’ infrastructure and devoted

  nearly 10,000 employee hours to the same.

         82.    Despite OCLC’s best efforts, OCLC’s customers experienced many significant

  disruptions in paid services during the aforementioned period as a result of the attacks on

  WorldCat.org, requiring OCLC to create system workarounds to ensure services functioned.

         83.    During this time, customers threatened and likely did cancel their products and

  services with OCLC due to these disruptions.

         84.    Because OCLC had to combat these persistent hacking attacks, OCLC was forced

  to divert existing personnel and resources from OCLC’s other products and services. As a result,

  OCLC’s development and improvements to other products and services were delayed and limited.

         85.     OCLC has devoted, at various times, ten or more employees to respond to and

  mitigate the harm from these attacks from October 2022 to present.

  IV.    Anna’s Archive Unmasks itself as the Perpetrator of the Attacks on WorldCat.org
         and Makes OCLC’s WorldCat® Records Publicly Available.

         86.    On October 3, 2023, Defendants published a blog post, boasting, “[o]ver the past

  year, we’ve meticulously scraped all WorldCat records.” 13           Defendants also made this

  announcement on Anna’s Archive’s X account, formerly known as Twitter.14 In their blog post,

  Defendants outlined their scheme to hack WorldCat.org.




  13
     1.3B WorldCat scrape & data science mini-competition, Anna’s Blog (Oct. 3, 2023),
  https://annas-blog.org/worldcat-scrape.html.
  14
     After OCLC sent cease and desist letters to Defendant Matienzo and the remaining Defendants
  via email addresses provided on Anna’s Archive’s domains, the X account for Anna’s Archive
  was deleted. See @AnnaArchivist, X, https://twitter.com/AnnaArchivist (last visited Jan. 12, 2024)
  (“This account doesn’t exist.”).


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         87.     Defendants explained that “[a] year ago, we set out to answer this question: What

  percentage of books have been permanently preserved by shadow libraries?” They went on, “[t]o

  answer the question of which percentage of books has been preserved . . . we need to know the

  denominator: how many books exist in total? And ideally we don’t just have a number, but actual

  metadata. Then we can not only match them against shadow libraries, but also create a TODO

  list of remaining books to preserve! We could even start dreaming of a crowdsourced effort to

  go down this TODO list,” i.e., a crowdsourced effort to pirate books on the “TODO list.”

         88.     As part of these efforts, Defendants “set our sights on the largest book database in

  the world: WorldCat” to “create a TODO list of remaining books to preserve,” i.e., to pirate.

         89.     And “[o]ver the past year, we’ve meticulously scraped all WorldCat records. At

  first, we hit a lucky break. WorldCat was just rolling out their complete website redesign (in Aug

  2022). This included a substantial overhaul of their backend systems, introducing many security

  flaws. We immediately seized the opportunity, and were able scrape hundreds of millions (!) of

  records in mere days.”

         90.     Defendants acknowledged that WorldCat® is a “proprietary database” in which

  OCLC “aggregates metadata records from libraries all over the world, in exchange for giving those

  libraries access to the full dataset, and having them show up in end-users’ search results.” “Even

  though OCLC is a non-profit, their business model requires protecting their database. Well, we’re

  sorry to say, friends at OCLC, we’re giving it all away. :-).”

         91.     As a result of their hacking and data scraping and harvesting, Defendants have

  stolen 2.2 TB of WorldCat® data, which they claim comprises 1.3 billion OCNs and 700 million

  unique actual bibliographic records.




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         92.     In total, WorldCat® has 1.4 billion OCNs, meaning Defendants claim that they

  were able to harvest, to some extent, 97.4% of unique WorldCat® records.

         93.     Defendants, through the Anna’s Archive domains, have made, and continue to

  make, all 2.2 TB of WorldCat® data available for public download through its torrents.

  Defendants also announced their torrents on the Anna’s Archive blog, X, Reddit, and other

  platforms, and are encouraging users to download and analyze the data, creating a “mini-

  competition for data scientists.”

         94.     Defendants call for visitors to “help seed our torrents, scan and upload some books,

  help build Anna’s Archive, help scrape more collections, or simply become a member.”

         95.     Defendants also incorporated the harvested WorldCat® data into the Anna’s

  Archive search engine so that such data appears in search results displayed to visitors.

  V.     WorldCat® Data Available Publicly in the Aggregate is a Serious Threat to OCLC
         and its Library Services that Depend on WorldCat® Data.

         96.     When Defendants torrented the 2.2 TB of WorldCat® data that they harvested by

  hacking WorldCat.org, Defendants effectively distributed OCLC’s valuable WorldCat® data.

         97.     Moreover, by creating a competition for the most unique use of OCLC’s

  WorldCat® data, Defendants have all but ensured that individuals will download the data, use it

  for their own means, and incorporate it into other applications that facilitate its distribution.

         98.     Most of the records contain enrichments from OCLC and its members.

         99.     This includes metadata unique to WorldCat® records and created by OCLC. For

  example, the Anna’s Archive’s blog post indicates that Defendants harvested metadata that denotes

  associations between records, such as between an original work and a parodying work. OCLC

  adds these associations data as part of its enrichment process.




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         100.   OCLC faces significant harm now that metadata representing 97.4% of all

  WorldCat® records is available in the aggregate for public download. Competitors can download

  and analyze the data, as well as use the aggregate data for anti-competitive purposes. Moreover,

  current and future customers may download and copy the data, foregoing OCLC’s Services,

  including WorldCat®.

         101.   The more libraries that participate in WorldCat® and catalog their records with

  OCLC, the more records that are available through WorldCat® and the more valuable that

  WorldCat® becomes to OCLC’s members. Any loss in OCLC membership and WorldCat®

  participation has a direct, negative impact on members that remain. The distribution of WorldCat®

  records and metadata for free will contract OCLC membership and WorldCat® participation.

         102.   WorldCat® is also one of OCLC’s most financially important offerings to its

  members, making up an average of 40% of OCLC’s revenue over the past 5 years.

         103.   WorldCat® also sits at the center of OCLC’s family of products and services.

  OCLC’s cataloging, resource sharing, discovery, OCLC publisher, and OCLC data services all

  benefit from WorldCat® records. OCLC’s other products and services that would be affected by

  a successful attack by Defendants on WorldCat® include: WorldShare Management Services,

  WorldShare    Metadata/OCLC       Cataloging,    Group   Cataloging,    WorldCat®     Discovery

  Services/FirstSearch, WorldShare License Manager, WorldShare Collection Evaluation,

  WorldShare Interlibrary Loan, Tipasa, WorldCat.org, ILLiad, GreenGlass, and Chorea Insights.

         104.   Providing WorldCat® records for free in a mass download also decreases

  WorldCat®’s value to OCLC’s other products and services, further devaluing OCLC’s products

  and services to current and potential customers. The negative impact of Defendants’ distribution




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  of WorldCat® records could have catastrophic consequences for every aspect of OCLC’s

  operations.

         105.    Defendants know of the aforementioned importance of WorldCat® to OCLC’s

  operations and its ability to continue to compete in the library services market.

         106.    Moreover, Defendants acknowledge the value to the library community that OCLC

  provides and the value of its efforts to collect, enrich, and refine WorldCat® records and data:

         PS: We do want to give a genuine shout-out to the WorldCat team. Even though it
         was a small tragedy that your data was locked up, you did an amazing job at getting
         30,000 libraries on board to share their metadata with you. As with many of our
         releases, we could not have done it without the decades of hard work you put into
         building the collections that we now liberate. Truly: thank you.

  VI.    The Individuals Behind Anna’s Archive and their Conspiracy to Illegally Target
         and Harm OCLC.

         107.    After Anna’s Archive identified itself as the perpetrator of the hacking attacks,

  OCLC set out to identify the individuals behind Anna’s Archive.

         108.    Defendant Maria Dolores Anasztasia Matienzo is software engineer at Tome and

  former catalog librarian at a direct competitor of OCLC.

         109.    On information and belief, in addition to her extensive online presence, she has a

  GitHub (a software code hosting platform) account called, “anarchivist,” and she developed a

  repository for a python module for interacting with OCLC’s WorldCat® Affiliate web services.

         110.    On her personal blog, Matienzo describes herself as an “archivist.”

         111.    Matienzo has publicly stated that libraries and archives should be open and publicly

  available.

         112.    On information and belief, Matienzo has a deep understanding of OCLC’s

  WorldCat® and software coding, which she has utilized to support Anna’s Archive, along with

  her experience at an OCLC competitor.



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         113.    On information and belief, the other individuals behind Anna’s Archive,

  Defendants John Does #1–20, reside in various foreign countries, including Israel and Brazil.

         114.    On information and belief, Defendants John Does #1–20 have experience with data

  scraping, with online piracy, with software development, at OCLC’s competitors, etc., which they

  use to support Anna’s Archive, including through the attacks on OCLC.

         115.    In a blog post, Anna’s Archive had previously stated, “we would love to quit our

  jobs in finance and tech.”15

         116.    On information and belief, the individual defendants’ professional profiles fit the

  blog post’s “jobs in finance and tech” description.

         117.    Upon information and belief, each individual defendant has used their library

  cataloging, software, and/or technological skills to create Anna’s Archive, willfully violate

  international, federal, and state law, directly target OCLC, hack WorldCat.org, and distribute

  WorldCat® data, in order to facilitate the piracy of protected works.

         118.    As set forth in Anna’s Archive’s blog, Defendants have acted, and continue to act,

  in concert in furtherance of a plan or agreement to tortiously interfere with OCLC’s contractual

  and prospective business relationships in relation to OCLC’s WorldCat® service, hack

  WorldCat.org and OCLC’s servers, and trespass upon and convert OCLC’s property, including its

  WorldCat® data and servers.

         119.    As a result of Defendants’ plans, OCLC will face difficulties meeting its obligations

  under the WorldCat®’s Rights and Responsibilities agreement and its service agreements with

  customers.




  15
    3x new books added to the Pirate Library Mirror (+24TB, 3.8 million books), Anna’s Blog (Sept.
  25, 2022), https://annas-blog.org/blog-3x-new-books.html.


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          120.    Upon information and belief, as a result of Defendants’ plan, one or more OCLC

  WorldCat® customers or potential WorldCat® customers has or will opt to forego OCLC services,

  including WorldCat®.

          121.    Upon information and belief, Defendants’ coordinated and intentional predatory

  and tortious targeting of OCLC’s WorldCat® data is willful and malicious, and it has caused, and

  will continue to cause, significant injury to WorldCat® and OCLC in Ohio and elsewhere, as

  discussed in this Complaint.

                                               COUNT ONE
                                             Breach of Contract

          122.    OCLC incorporates the paragraphs above by reference as if fully restated herein.

          123.    OCLC WorldCat.org Services Terms and Conditions (“Terms and Conditions”)

  create a valid and binding contract between OCLC and Defendants, where OCLC grants the user

  a license to use WorldCat® data available on WorldCat.org, and in exchange the user agrees not

  to use the data for commercial use; to harvest “material amounts” of data; to distribute, display, or

  disclose the data; or to store the data.

          124.    OCLC fully performed its obligations under the Terms and Conditions by providing

  each of the Defendants with access to certain WorldCat® data through WorldCat.org.

          125.    Defendants materially breached the terms set forth in the Terms and Conditions,

  including but not limited to, its harvesting and scraping of WorldCat® data from WorldCat.org,

  bypassing WorldCat.org’s user interface and directly accessing WorldCat® data from OCLC’s

  servers, offering WorldCat® data for its own commercial use, displaying, distributing, and

  disclosing the data, and permanently storing via mirroring and torrent WorldCat® data.

          126.    As a direct and proximate result of Defendants’ breach of the Terms and

  Conditions, OCLC has incurred damages, OCLC has suffered immediate and irreparable injury,



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  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

         127.     Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

                                          COUNT TWO
                                         Unjust Enrichment

         128.     OCLC incorporates the paragraphs above by reference as if fully restated herein.

         129.     OCLC conferred a benefit on Defendants by providing access to WorldCat.org,

  which contains certain WorldCat® data.

         130.     Defendants have knowledge of the benefit of WorldCat® data, as demonstrated by

  their statements on Anna’s Archive’s blog recognizing the propriety nature of WorldCat®,

  praising WorldCat®, and thanking OCLC for “the decades of hard work you put into building the

  collections.”

         131.     Defendants have unjustly retained WorldCat® data, despite cease-and-desist

  requests made by OCLC, by not only avoiding paying for OCLC products and services, which

  would have granted them bulk access to WorldCat® data, but also by offering access to the

  WorldCat® data to others.

         132.     Defendants’ retention of the WorldCat® data is in bad faith because Defendants

  exploited its access to WorldCat® data with the specific intent to harvest and scape data, even

  though they acknowledge WorldCat® data is proprietary, and that they are “giving it all away.”

         133.     Defendants’ unjust enrichment proximately caused OCLC to suffer immediate and

  irreparable injury, loss, or damage in Ohio and elsewhere for which there is no adequate remedy




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  at law, including irreparable injury to its business and loss of customer good will, and other

  intangible assets, and additional damages and expenses that are not readily calculable.

            134.   Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

                                          COUNT THREE
                                  Tortious Interference of Contract

            135.   OCLC incorporates the foregoing paragraphs above by reference as if fully restated

  herein.

            136.   OCLC, as the owner of the world’s preeminent cataloging record service,

  WorldCat®, has entered into contractual relationships with its WorldCat® customers, which

  outline the benefits of OCLC’s cooperative and the access to WorldCat® records and data en

  masse.

            137.   Upon information and belief, Defendants have knowledge of OCLC’s contracts

  with WorldCat® customers given Defendants’ acknowledgment that WorldCat® data is

  proprietary, their previous experience at OCLC competitors, and that OCLC does not grant access

  to WorldCat® data without a subscription.

            138.   Upon information and belief, when Defendants harvested WorldCat® data and

  distributed it, and when Defendants hacked WorldCat.org and OCLC’s servers, they intended for

  or were substantially certain that OCLC would face material difficulties in fulfilling its obligations

  under the WorldCat®’s Rights and Responsibilities agreement and current service agreements

  with customers, that customers would cancel their service agreements with OCLC, and otherwise

  materially interfere with OCLC’s contractual relationships with its customers.

            139.   Defendants’ interference with OCLC’s existing contracts lacks any justification as

  evidenced by its improper motives, illegal interests in promoting the piracy of literary works and



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  of OCLC’s WorldCat® records and metadata, and the predatory nature of its direct attack on

  OCLC.

            140.   As a direct and proximate result of Defendants’ tortious interference with OCLC’s

  contracts, OCLC has suffered immediate and irreparable injury, loss, or damage in Ohio and

  elsewhere for which there is no adequate remedy at law, including irreparable injury to its business

  and loss of customer good will, and other intangible assets, and additional damages and expenses

  that are not readily calculable.

            141.   Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

            142.   In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                          COUNT FOUR
                           Conspiracy to tortiously interfere with contract

            143.   OCLC incorporates the foregoing paragraphs above by reference as if fully restated

  herein.

            144.   Defendants conspired to tortiously interfere with OCLC’s contractual relationships

  with its WorldCat® customers.

            145.   Defendants formed a malicious combination, or a tacit understanding or design, to

  hack WorldCat.org and OCLC’s servers and offer WorldCat® data in bulk, which Defendants

  know will create material difficulties for OCLC to fulfill its obligations under the WorldCat®’s

  Rights and Responsibilities agreement and current service agreements with customers and will

  cause customers to cancel their service agreements with OCLC.




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            146.   Defendants did so intentionally, deliberately, willfully, maliciously, and without

  justification to injure OCLC in Ohio and elsewhere.

            147.   Pursuant to this malicious combination, Defendants have induced or will induce

  WorldCat® customers to terminate their agreements with OCLC.

            148.   These underlying unlawful acts committed pursuant to the formed conspiracy will

  and/or have directly and proximately caused OCLC to suffer immediate and irreparable injury,

  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

            149.   Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

            150.   In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                           COUNT FIVE
                    Tortious interference with prospective business relationships

            151.   OCLC incorporates the foregoing paragraphs above by reference as if fully restated

  herein.

            152.   OCLC, as the owner of WorldCat®, has had, or will have, prospective business

  relationships with potential customers seeking a cataloging record service as part of their ILS/LSP

  platforms.

            153.   Upon information and belief, Defendants know OCLC has these prospective

  business relationships, which is why they scraped and hacked WorldCat.org and OCLC’s servers

  and are offering WorldCat® data in bulk.



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         154.    Upon information and belief, widely distributing pirated metadata online,

  devaluing the commercial value of the metadata, and interfering with WorldCat.org and OCLC’s

  servers is consistent with Defendants’ mission to offer the world’s knowledge for free.

         155.    Defendants have intentionally, deliberately, willfully, maliciously, and without

  justification caused or will cause these prospective WorldCat® customers to not enter into a

  business relationship with OCLC for WorldCat® by hacking WorldCat.org and OCLC’s servers

  and offering WorldCat® data on Anna’s Archives websites and via torrents.

         156.    As a direct and proximate result of Defendants’ tortious interference with OCLC’s

  prospective business relationships with future WorldCat® customers, OCLC will suffer immediate

  and irreparable injury, loss, or damage in Ohio and elsewhere for which there is no adequate

  remedy at law, including irreparable injury to its business and loss of customer good will, and

  other intangible assets, and additional damages and expenses that are not readily calculable.

         157.    Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

         158.    In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                          COUNT SIX
           Conspiracy to tortiously interfere with prospective business relationships

         159.    OCLC incorporates the paragraphs above by reference as if fully restated herein.

         160.    Defendants conspired to tortiously interfere with OCLC’s future business

  relationships with potential WorldCat® customers.




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         161.    Upon information and belief, widely distributing pirated metadata online,

  devaluing the commercial value of the metadata, and interfering with WorldCat.org and OCLC’s

  servers is consistent with Defendants’ mission to offer the world’s knowledge for free.

         162.    Defendants formed a malicious combination, or a tacit understanding or design, to

  scrape WorldCat.org, offer WorldCat® data in bulk, and interfere with WorldCat.org and OCLC’s

  servers.

         163.    Defendants did so intentionally, deliberately, willfully, maliciously, and without

  justification to injure OCLC in Ohio and elsewhere.

         164.    Pursuant to this malicious combination, Defendants have induced or will induce

  potential WorldCat® customers from engaging in agreements with OCLC.

         165.    These underlying unlawful acts committed pursuant to the formed conspiracy will

  and/or have directly and proximately caused OCLC to suffer immediate and irreparable injury,

  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

         166.    Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

         167.    In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.




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                                           COUNT SEVEN
                                  Civil Recovery for Criminal Acts
                              Violation of Ohio Revised Code § 2913.04

         168.    OCLC incorporates the paragraphs above by reference as if fully restated herein.

         169.    Defendants gained access to and/or caused access to be gained to OCLC’s

  computers, computer systems, and/or computer networks when it hacked WorldCat.org and

  scraped and/or harvested WorldCat® data and accessed OCLC’s servers.

         170.    Defendants did so knowingly and without OCLC’s consent and/or exceeding

  OCLC’s consent as outlined in the OCLC WorldCat.org Services Terms and Conditions.

         171.    Under Ohio Revised Code § 2307.60, anyone injured in person or property by a

  criminal act may recover damages in a civil action, including exemplary and punitive damages,

  and attorneys’ fees.

         172.    As a result of Defendants’ criminal actions, OCLC has and/or will suffer injuries,

  including, but not limited to, decreased value of WorldCat® and OCLC’s Services, damage to

  OCLC’s servers and other infrastructure, and diminished good will with its customers.

         173.    As a direct and proximate cause of Defendants’ joint and willful violations of

  § 2913.04, OCLC is entitled to compensatory and punitive damages at an amount to be determined

  at trial, as well as attorneys’ fees, pursuant to § 2307.60.

                                          COUNT EIGHT
                         Conspiracy to violate Ohio Revised Code § 2913.04

         174.    OCLC incorporates the paragraphs above by reference as if fully restated herein.

         175.    Defendants conspired to gain access to and/or cause access to be gained to OCLC’s

  computers, computer systems, and/or computer networks by hacking WorldCat.org and accessing

  OCLC’s servers without and/or exceeding OCLC’s consent.




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         176.    Defendants formed a malicious combination, or a tacit understanding or design, to

  unlawfully scrape WorldCat® data and access OCLC’s servers in order to copy and distribute

  WorldCat® data.

         177.    Defendants did so intentionally, deliberately, willfully, maliciously, and without

  justification to injure OCLC in Ohio and elsewhere.

         178.    Pursuant to this malicious combination, Defendants have and/or will have

  decreased value of WorldCat® and OCLC’s other products and services, damaged to OCLC’s

  servers and other infrastructure, and diminished good will with its customers.

         179.    These underlying unlawful acts committed pursuant to the formed conspiracy will

  and/or have directly and proximately caused OCLC to suffer immediate and irreparable injury,

  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

         180.    Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

         181.    In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                          COUNT NINE
                                        Trespass to Chattels

         182.    OCLC incorporates the paragraphs above by reference as if fully restated herein.

         183.    The compilation of WorldCat® data was created, modified, enhanced, and is

  possessed by OCLC, and only exists, in bulk, through purchase of a subscription with OCLC.




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         184.    Without authorization from OCLC or in excess of any authorization, Defendants

  intentionally intermeddled with WorldCat® data, WorldCat.org, and OCLC’s servers when they

  harvested data from WorldCat.org and OCLC’s servers.

         185.    Without authorization from OCLC or in excess of any authorization, Defendants

  intentionally used WorldCat® data when they made the data publicly available via torrent links on

  Anna’s Archives’ websites and when they damaged OCLC’s servers and related infrastructure.

  Without authorization from OCLC, Defendants intentionally accessed OCLC’s servers and related

  infrastructure when they hacked and harvested data from WorldCat.org.

         186.    Defendants’ trespass to WorldCat® data and OCLC’s servers and related

  infrastructure has impaired its condition, quality, and/or value by, including but not limited to,

  offering WorldCat® data for public download, and damaging OCLC’s servers and related

  infrastructure and reputation with its customers.

         187.    As a result of Defendants’ trespass upon OCLC’s chattels, OCLC will suffer

  immediate and irreparable injury, loss, or damage in Ohio and elsewhere for which there is no

  adequate remedy at law, including irreparable injury to its business and loss of customer good will,

  and other intangible assets, and additional damages and expenses that are not readily calculable.

         188.    Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

         189.    In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.




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                                           COUNT TEN
                                  Conspiracy to Trespass to Chattels

            190.   OCLC incorporates the foregoing paragraphs above by reference as if fully restated

  herein.

            191.   Defendants conspired to trespass OCLC’s personal property.

            192.   Defendants formed a malicious combination, or a tacit understanding or design, to

  harvest the WorldCat® data from WorldCat.org, and then, use WorldCat® data when they made

  the data publicly available for download through the Anna’s Archives websites, and to damage

  OCLC’s servers and related infrastructure.

            193.   Defendants did so intentionally, deliberately, willfully, maliciously, and without

  justification to injure OCLC in Ohio and elsewhere.

            194.   Pursuant to this malicious combination, Defendants have and/or will have

  decreased the value of becoming a member in OCLC’s cooperative offering bulk access to

  WorldCat® data, i.e., affecting OCLC’s business, and damaged OCLC’s servers and related

  infrastructure and goodwill with its members.

            195.   These underlying unlawful acts committed pursuant to the formed conspiracy will

  and/or have directly and proximately caused OCLC to suffer immediate and irreparable injury,

  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

            196.   Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.




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            197.   In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                           COUNT ELEVEN
                                             Conversion

            198.   OCLC incorporates the foregoing paragraphs above by reference as if fully restated

  herein.

            199.   The compilation of WorldCat® data was created, modified, enhanced, and is

  possessed by OCLC, and only exists, in bulk, through purchase of a subscription with OCLC.

            200.   Without authorization or at least intentionally in excess of any authorization,

  Defendants exercised control and dominion over WorldCat® data when they harvested and

  distributed the data through the Anna’s Archives’ websites and exercised control and dominion

  over OCLC’s servers and related infrastructure when hacking and harvesting data from

  WorldCat.org.

            201.   Defendants’ use of the WorldCat® data and OCLC’s servers and related

  infrastructure constitutes a substantial and unreasonable interference with the right of OCLC to

  protect the WorldCat® data, a right which Defendants have recognized in Anna’s Archives’ Blog,

  and to protect its servers and related infrastructure.

            202.   Not only have Defendants unlawfully acquired the WorldCat® data through its

  scraping of WorldCat.org and harvesting through OCLC’s servers and its violations of OCLC’s

  Services Terms and Conditions, but Defendants, also, have refused to halt their unlawful

  possession, use, and distribution of the WorldCat® data despite OCLC’s express demand.

            203.   As a direct and proximate result of Defendants’ conversion of WorldCat® data and

  OCLC’s servers and related infrastructure, OCLC will suffer immediate and irreparable injury,



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  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

            204.   Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

            205.   In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                        COUNT TWELVE
                              Conspiracy to Convert OCLC’s Property

            206.   OCLC incorporates the foregoing paragraphs above by reference as if fully restated

  herein.

            207.   Defendants conspired to convert OCLC’s personal property.

            208.   Defendants formed a malicious combination, or a tacit understanding or design, to

  scrape the WorldCat® data from WorldCat.org and harvest the WorldCat® data from OCLC’s

  servers, and then, use the WorldCat® data when they made the data publicly available for

  download on Anna’s Archives’ websites. Defendants also formed a malicious combination, or a

  tacit understanding or design to deprive OCLC of the use of its servers and related infrastructure

  when it harvested the WorldCat® data from OCLC’s servers.

            209.   Defendants did so intentionally, deliberately, willfully, maliciously, and without

  justification to injure OCLC in Ohio and elsewhere.

            210.   Pursuant to this malicious prosecution, Defendants have and/or will have decreased

  the value of becoming a member in OCLC’s cooperative offering bulk access to the WorldCat®




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  data, i.e., affecting OCLC’s business, and damaged OCLC’s servers and related infrastructure and

  goodwill with its members.

         211.    These underlying unlawful acts committed pursuant to the formed conspiracy will

  and/or have directly and proximately caused OCLC to suffer immediate and irreparable injury,

  loss, or damage in Ohio and elsewhere for which there is no adequate remedy at law, including

  irreparable injury to its business and loss of customer good will, and other intangible assets, and

  additional damages and expenses that are not readily calculable.

         212.    Alternatively, the actions as described above will and/or have caused OCLC to be

  damaged in an amount to be determined at trial.

         213.    In addition, Defendants’ conduct was undertaken intentionally with malice,

  oppression, and/or fraud, justifying the imposition of punitive damages in an amount sufficient to

  punish Defendants and deter Defendants from engaging in similar conduct.

                                      PRAYER FOR RELIEF

         WHEREFORE, OCLC, Inc. requests that the Court enter judgment in its favor and against

  Defendants as follows:

         (a)     a declaration that Defendants’ scraping of the WorldCat® data constitutes a (1)

  breach of contract or unjust enrichment, (2) tortious inference with contracts, (3) tortious

  interference with prospective business relationships, (4) violation of Ohio Revised Code § 2913.04,

  (5) trespass to chattels, (6) conversion, and (7) conspiracy to commit (2) through (6);

         (b)     permanent injunctive relief prohibiting Defendants (1) from scraping or harvesting

  WorldCat® data from WorldCat.org or OCLC’s servers, (2) from using, storing, or distributing

  the WorldCat® data on Anna’s Archive websites, and (3) from encouraging others to scrape,

  harvest, use, store, or distribute WorldCat® data, and (4) requiring the deletion of all copies of

  WorldCat® data in possession of, or easily accessible to, Defendants, including all torrents


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  identified on any Anna’s Archive websites or within possession of, or easily accessible to

  Defendants;

         (c)     an award of compensatory damages in favor of OCLC against Defendants in an

  amount to be determined at trial in excess of $75,000;

         (d)     an award of punitive damages;

         (e)     an award of attorneys’ fees, pre-judgment interest, costs, and expenses, incurred in

  connection with this action; and/or

         (f)     for such other and further relief as the court deems just.

                                          JURY DEMAND

         Plaintiff respectfully demands a trial by jury of the maximum number permitted by law.


  Respectfully submitted,


  Dated: January 12, 2024                       /s/ Jeffrey M. Walker
                                                Jeffrey M. Walker (0096567), Trial Attorney
                                                Traci L. Martinez (0083989)
                                                Kathryn M. Brown (0100426)
                                                Brittany Silverman (0102263)
                                                SQUIRE PATTON BOGGS (US) LLP
                                                2000 Huntington Center
                                                41 South High Street
                                                Columbus, Ohio 43215
                                                Telephone: +1 614 365 2700
                                                Facsimile: +1 614 365 2499
                                                jeffrey.walker@squirepb.com
                                                traci.martinez@squirepb.com
                                                kathryn.brown@squirepb.com
                                                brittany.silverman@squirepb.com

                                                Attorneys for Plaintiff, OCLC, Inc.




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                           (https://www.oclc.org/en/home.html)


      (ocLc

                                                                                           Search OCLC websites

                                                                                                                                                   .lc/wc-oclc-header).
                                                                                     Searching for items in a library? Try WorldCat.org (https://oc




            'rn‘WorldCat®

WorldCat Rights and Responsibilities for the
OCLC Cooperative
Date of Last Revision: 2 June 2010


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 1. Scope, Premise, and Policy Objectives
                                                                                                                     a replacement for the "Guidelines for
                                                            , a group charged by the OCLC Board of Trustees to craft
 This policy was created by the Record Use Policy Council                                                         Appendix 3
                                                           in 1987. The membership of the Council can be found in
 Use and Transfer of OCLC Derived Records," developed
                                                                tml#App3).
 (https://www.oclc.org/en/worldcat/cooperative-quality/policy.h
                                                                                                                                  ), which refers collectively
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  The policy is intended for the OCLC cooperative (https://www.oc                                      OCLC   governa nce  structur e (Board of Trustees and
                                                           perative-quality/policy.html#me mbers), the
  to OCLC members (https://www.oclc.org/en/worldcat/coo                                                                through sharing of resources and
                                                            corporation. Members contribute to the OCLC cooperative
  Global and Regional Councils), and the non-profit OCLC
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commitment to the WorldCat Principles of Cooperation (/content/marketing/publish/en_us/worldcat/community/principles.html).

The purpose of the policy is to define the rights and responsibilities associated with the stewardship of the WorldCat
(https://www.oclc.org/en/worldcat/cooperative-quality/policy.html#worldcat) bibliographic and holdings database by and for the OCLC cooperative,
including the use and exchange of OCLC member-contributed data comprising that database. The policy is based on the premise that OCLC members
value WorldCat as a comprehensive, timely, and accurate reflection of the consolidated holdings of those members. The policy's intent is to encourage
the widespread use of WorldCat bibliographic data (https://www.oclc.org/en/worldcat/cooperative-quality/policy.html#wcdata) while also supporting the
ongoing and long-term viability and utility of WorldCat and of WorldCat-based services such as resource sharing, cataloging, and discovery.

The objectives of this policy are to:

A. Maximize the utility and viability of WorldCat, enable and facilitate innovation based on WorldCat, and support the substantial network of
    relationships between OCLC members and their partners in today's information landscape, while sustaining the integrity of the WorldCat database
    and its economic underpinnings.
B. Promote successful collective action and self-governing behaviors by OCLC members to sustain WorldCat over the long term.
C. Support a spirit of trust and reciprocity within the OCLC cooperative, as well as a commitment to continual policy evolution as conditions in the
    information ecosystem change.
D. Define OCLC member rights and responsibilities for WorldCat contribution, access, and data use or transfer.
E. Define the rights of OCLC members to use bibliographic data they have extracted from the WorldCat database.
F. Define the rights of OCLC members to transfer or make available data they have extracted from the WorldCat database to non-members.
G. Provide suggested language for OCLC members to use in service agreements with agents.
H. Define OCLC's responsibilities for using member-contributed data.
 I. Define responsible use of OCLC systems and services.
J. Define the steps OCLC and OCLC governance can take when disputes arise regarding use of WorldCat data.
K. Establish a clear and transparent process for management of future changes to this policy that ensures the participation of the cooperative.
L. Provide a stable policy foundation and framework that will help collaborating organizations (particularly outside of the membership) to have
    confidence that they can predictably and reliably build upon the WorldCat database in developing new services consistent with the mission and
    values of the cooperative.


2. Preamble
A. OCLC and WorldCat
OCLC's public purposes (/content/dam/oclc/membership/values_principles.pdf) include promoting the evolution of library use, of libraries themselves,
and of librarianship, and providing processes and products for the benefit of libraries and their users. OCLC and its members form a cooperative to help
members share resources, reduce costs, and increase their visibility and impact in the communities they serve. Together OCLC and its members have
built WorldCat, the largest database of shared library holdings in the world, and a set of services that use this database. OCLC members, OCLC
governance participants, and OCLC management all have roles in the community that builds, shares, uses, and manages the network resource that is
WorldCat.

B. OCLC Management and Governance
OCLC is the steward of the WorldCat database as well as the provider of access, services, infrastructure, software, hardware, and support. The OCLC
Board of Trustees—made up of members from academic, public, state, and national libraries plus experts in business, finance, and law—works to
ensure that OCLC stays financially secure and true to its public purposes. The Membership and Governance Protocols
(/content/dam/oclc/membership/membership_protocols.pdf) define how member delegates engage with various aspects of managing the cooperative
and its central asset, WorldCat. In addition to other duties, delegates have responsibility for commenting on OCLC's actions and intentions, including
policy matters.

C. WorldCat, a Shared Resource
The WorldCat database is more than a collection of OCLC member-contributed records. Its value is in the cooperation and outcomes it supports, not in
the ownership of the records themselves. While, on behalf of its members, OCLC claims copyright rights in WorldCat as a compilation, it does not claim
copyright ownership of individual records. With millions of bibliographic descriptions and more than a billion holdings from OCLC members around the
world, the WorldCat database is a central point of concentration for the largest library network in the world. WorldCat gives libraries a Web-scale
presence. The more libraries participate, the better and more useful WorldCat becomes to libraries, their end users, and other organizations that want to
interact with libraries on the Web.

WorldCat's value rests in its usefulness as:

 1. A bibliographic record supply. Comprehensive coverage and high-quality, consistent records facilitate operational efficiency in member libraries.
 2. A registry of library holdings. Bibliographic data tied to library locations creates a network which supports research and resource sharing.
 3. A discovery environment. The library network can be accessed as a unit, enhancing convenience and reach. This network can be delivered into
    other discovery environments.
 4. An infrastructure for knowledge organization. A common infrastructure supports shared approaches to description, authority control (through
    NACO, CONSER, etc.), and subject analysis and classification.
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 5. An infrastructure for systemwide maintenance of metadata. Shared infrastructure supports systemwide revisions (e.g., MARC updates, heading
    changes); data mining for enriched structure (e.g., FRBR, WorldCat Identities); and syndication into other environments.
 6. A source of intelligence about the systemwide "collective collection." The aggregation of holdings data at the network level supports policy and
    service decisions about the management of collections within and across institutions.
 7. A repository of data available in multiple ways, including via WorldCat APIs that allow people to combine WorldCat data with their own
    applications.

In addition to these benefits, the WorldCat database is a union of national and other union catalogs from around the world, as well as the closest
approximation of a national union catalog of library holdings in the United States. This means that WorldCat is the fullest single source of worldwide
library holdings available, access to which improves the efficiency with which items can be located in—and requested from—library collections.

D. WorldCat's Value and Sustainability, and the Need for a Policy
A policy is needed to ensure the continued viability and value of WorldCat as a shared cooperative resource. This policy will:

 1. Help maintain a shared community resource that benefits the cooperative of OCLC members;
 2. Reinforce the collective commitment to shared values, self-governance, and a spirit of reciprocity and trust;
 3. Provide the underpinnings for a business model that sustains WorldCat for the benefit of the cooperative that supports it.

The fact that OCLC has a public purpose does not mean that WorldCat is a "public good (https://www.oclc.org/en/worldcat/cooperative-
quality/policy.html#publicgood)" in the economic sense. On the contrary, WorldCat is a shared community resource intended to benefit the cooperative of
      -
members who contribute to its growth and financially support it. The goal of sharing widely the benefits of WorldCat sits alongside the practical need to
sustain the economic viability and value of WorldCat over the long term. Significant costs are involved in the ongoing provision of the high-quality
database on which OCLC members rely. If the database does not receive the continued organizational support of OCLC members, there is a very real
danger that it will become fragmented and lose its integrity, that its quality will be diminished, and that, consequently, its utility to the OCLC cooperative
will be reduced.


3. OCLC Member Rights and Responsibilities
A. Rights
OCLC members who have extracted WorldCat data representing, or enriching the records for, their own holdings from the WorldCat database have the
right to:

 1. Load or incorporate such data into their library catalogs, or their discovery or resource-sharing systems, and into other intra-institutional services.
 2. Use such data for purposes of supporting library collections' discovery and resource sharing; bibliographic verification; private study, learning, and
    teaching; and academic and scientific research.
 3. Transfer or make available such data to individual scholars for their personal academic or scientific research or study, to library consortia
    (https://www.oclc.org/en/worldcat/cooperative-quality/policy.html#consortium) or public agencies working on behalf of libraries, or to other libraries
    and educational, cultural or scholarly institutions (e.g., museums, archives, historical societies, research institutes), whether these institutions are
    members or non-members of OCLC, for these organizations' institutional or collaborative re-use.
        In these cases, the transfer or making available of WorldCat data and its subsequent uses (including copying, displaying, publishing, modifying,
        reformatting, and/or creating works or services from) should be carried out in keeping with OCLC member community norms
        (/content/dam/oclc/worldcat/documents/principles-of-cooperation.pdf), OCLC's public purpose
        (/content/dam/oclc/membership/values_principles.pdf), and this policy's intent.

 4. Transfer or make available WorldCat data representing their own holdings to agents (https://www.oclc.org/en/worldcat/cooperative-
    quality/policy.html#agent) they retain to perform services on their behalf that directly benefit the OCLC member (e.g., peer or consortial resource
    sharing, automated authority control, increased visibility of collections).

     a. In these cases, OCLC members should ensure that a written agreement exists with any such agent that limits the agent's use of WorldCat data
        to performance of the services contracted for by the OCLC member. Sample language for such agreements between members and their agents
        may be found in Appendix 1 (https://www.oclc.org/en/worldcat/cooperative-quality/policy.html#App1) below.
     b. If they also benefit the OCLC cooperative, other uses, transfers, or aggregations of WorldCat data representing a member's own holdings that
        serve the business purposes of an OCLC member's agent are encouraged, subject to the terms and conditions of a mutually acceptable
        separate agreement between the agent and OCLC. A general description of the current terms and conditions of such agreements can be found in
        Appendix 2 (https://www.oclc.org/en/worldcat/cooperative-quality/policy.html#App2) below.

OCLC has in place existing agreements with many agents and will continue to create them as member needs arise.

B. Responsibilities
It is the responsibility of OCLC members to:

 1. Abide by this policy, and ensure awareness of it both within their institutions and on the part of their agents, their cooperatives, and other
    organizations to which they make their data available.
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 2. Contribute and maintain bibliographic and holdings data consistent with the standards and guidelines
    (/content/dam/oclc/worldcat/documents/guidelines-for-contributions-to-worldcat.pdf) adopted by the OCLC cooperative.
 3. Make reasonable efforts to ensure that their contributions to WorldCat do not violate the rights of any third party.
 4. Make reasonable efforts to attribute the OCLC cooperative as a contributor in works or services based substantially on WorldCat data.
 5. Make reasonable efforts to ensure that the subsequent re-use and transfer of their WorldCat data by non-members is consistent with this policy and
    OCLC's public purposes and supports the long-term viability and utility of WorldCat.
 6. Encourage and practice responsible use of OCLC systems and services, including:
     a. not permitting unauthorized use of their OCLC logons or passwords;
     b. not engaging in mass downloading from WorldCat without OCLC's prior written consent;
      c. not engaging in mass distribution of data directly from WorldCat to non-members without OCLC's prior consent;
     d. not engaging in other activities that diminish the value of WorldCat to the OCLC cooperative.

4. OCLC's Responsibilities to Members
It is the responsibility of OCLC, operating on behalf of the OCLC cooperative, to use member-contributed data to support its public purposes and to
benefit the cooperative, including:

 a. Adding member-contributed data to WorldCat, and maintaining such data consistent with the standards and guidelines adopted by the OCLC
     cooperative.
 b. Modifying, enriching, or reformatting it.
 c. Making it function within WorldCat-based systems and services.
 d. Using it in WorldCat.org for discovery purposes.
 e. Remixing and combining it with other data.
  f. Entering into agreements to share it as broadly as possible with partner organizations and members' agents.
 g. Honoring all existing agreements for the storage, maintenance, and usage of WorldCat records.


5. Addressing Disputed Use of WorldCat Data by Members
OCLC member use of data extracted from the WorldCat database is carried out in a diverse and rapidly-changing environment. It is, therefore,
impossible to anticipate all of the conceivable uses to which members might want or need to put WorldCat data. OCLC members are encouraged to
discuss with OCLC any uses that do not appear to be covered by this policy. If a particular use is determined to not be covered, OCLC and the member
will seek a mutually agreeable resolution of the matter. If either party believes that timely resolution cannot be reached, then the matter will follow
resolution and/or arbitration procedures to be determined by the Global Council and the Board of Trustees.


6. Policy Revision and Evolution
Because it is impossible to anticipate all of the conceivable uses to which members might want or need to put WorldCat data, this policy will be regularly
reviewed in order to ensure its continued timeliness and applicability. OCLC will initiate a policy review at least every three years and will make certain
that such reviews are conducted in an open and transparent way, and include opportunities both for substantive involvement of the OCLC governance
structure and for public comment, as well as a formal change-adoption process.


Appendix 1: Sample Language for Agreements Between Members and
Their Agents
"In connection with Agent's performance of the services specified in this Agreement (the "Services") for Library, Library has made or will make available
to Agent copies of bibliographic data, library holdings and/or other information representing Library's own holdings extracted from WorldCat, the online
database of such information maintained by OCLC Online Computer Library Center, Inc. ("OCLC") and its members (hereinafter "WorldCat
Data"). Except to the extent authorized by a separate written agreement between Agent and OCLC, Agent agrees that:

   (i) it will make no copies and no use of WorldCat Data except as necessary to perform the Services for Library; and

   (ii) it will not transfer or otherwise make available any WorldCat Data (or copies thereof) or any works based on or incorporating WorldCat Data (or
   any portion thereof) to any party except as necessary to perform the Services.

Agent will promptly delete all WorldCat Data received from Library from its computer systems when the WorldCat Data is no longer needed to perform
Services. OCLC may enforce the terms of this paragraph on its own behalf directly against Agent. This paragraph shall survive any expiration or
termination of this Agreement."


Appendix 2: Terms and Conditions of Agreements Between OCLC and
OCLC Members' Agents
The separate agreements between OCLC and OCLC members' agents to authorize the agents' use, transfer, or aggregation of WorldCat data
referenced in Section 3A(4)(b) of the Policy might include the following general provisions, to the extent deemed appropriate by OCLC:
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 1. OCLC's authorization for the agent to use, transfer, or aggregate WorldCat data representing the OCLC member's own holdings for purposes that: (i)
    further OCLC's public purposes, and (ii) provide benefit to the OCLC cooperative and its members;
 2. limitations on the agent's use, transfer, or aggregation of such WorldCat data as necessary to ensure the long-term utility and viability to OCLC
    members of WorldCat and the OCLC network of services;
 3. an additional exchange of value between OCLC and the agent such as:
        (i) a reciprocal metadata sharing component, through which OCLC and the agent agree to share metadata for purposes of synchronizing OCLC's
        databases, including WorldCat, and the agent's database(s);

       (ii) a reciprocal linking component, through which OCLC and the agent agree to link to each other's databases/web sites for purposes of
       broadening access to physical and digital library collections; and/or

       (iii) other exchanges that provide value to the OCLC cooperative and its members;

    and/or
 4. other provisions, terms, and conditions that are customary and/or appropriate for the transaction.

Appendix 3: Record Use Policy Council
Co-Chair: Barbara Gubbin , Director, Jacksonville Public Library, USA

Co-Chair: Jennifer Younger , President-Elect, OCLC Global Council and Edward H. Arnold Director of Hesburgh Libraries, University of Notre Dame,
USA

ChewLeng Beh, Global Council Delegate and Chair, OCLC Asia Pacific Regional Council; and Senior Director, Singapore National Library Board,
Singapore

Raymond Bérard, Global Council Delegate and Director, ABES, France

Karen Calhoun, Vice President, WorldCat and Metadata Services, OCLC, USA

Klaus Ceynowa, Global Council Delegate and Deputy Director General, Bayerische Staatsbibliothek, Germany

Christopher Cole, Global Council Delegate and Associate Director for Technical Services, National Agricultural Library, USA

Lorcan Dempsey, Vice President, OCLC Research and Chief Strategist, OCLC, USA

Nancy Eaton, Dean of University Libraries and Scholarly Communications, Penn State University, USA

Clifford A. Lynch, Executive Director, Coalition for Networked Information (CNI), USA

Brian E. C. Schottlaender, Global Council Delegate and The Audrey Geisel University Librarian, University of California, San Diego, USA

Lamar Veatch, Global Council Delegate and State Librarian, Georgia Public Library Service–University System of Georgia, USA.


Glossary
Agent . A library will typically contract with a variety of suppliers—vendors, cooperative organizations, and others—for services to achieve its goals. This
may involve sharing of data with those suppliers. Examples include digitization of collections, discovery layer services, authority control, or resource
sharing systems. These suppliers are 'agents.'

Library Consortium. For purposes of this policy, a library consortium is any cooperative association of libraries and/or educational, cultural, or scholarly
institutions, (e.g., museums, archives, historical societies, research institutes) that was organized and exists for the primary purpose of providing
services to its members and which operates on a not-for-profit basis.

OCLC Cooperative . The phrase "OCLC Cooperative" references collectively: OCLC members, the OCLC governance structure (Board of Trustees and
Global and Regional Councils), and the non-profit OCLC corporation.

OCLC Members . OCLC members belong to the OCLC Cooperative, whose membership model is based on contribution to the shared interests of the
OCLC Cooperative. Institutions worldwide become members of OCLC by contractually agreeing to contribute intellectual content to the Cooperative or to
share resources with other members.

Public Good. A public good has two key characteristics: it is difficult or impossible to prevent unauthorized parties from using the good, and one party's
use of the good does not diminish the ability of another party to use it. These characteristics mean that once public goods has been supplied, they are
fully available to everyone, and this in turn means that public goods are typically not made available through market mechanisms. They are instead
usually supplied by government agencies and funded through taxation. Examples of public goods include national defense and street lights. "Club
goods," also called "member goods" or "collective goods," are like public goods in that use of the good by one party does not diminish the ability of
another party to use it. However with club goods (unlike public goods), unauthorized parties (e.g., those that do not contribute toward the cost of
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providing the good) can be excluded (in the absence of appropriate arrangements) from enjoying the benefits of the good. Because of this, the supply of
a club good can be sustained through mechanisms that distribute the cost of providing the good across those who benefit from its use. Examples of club
goods include satellite television, online subscription news services, agricultural cooperatives, and credit unions.

WorldCat . WorldCat is a database of bibliographic records and holdings data representing library collections. It is created through OCLC member
contributions and OCLC management aggregation of data from multiple sources.

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